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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND


      IN RE LOESTRIN 24 FE ANTITRUST          MDL No. 2472
      LITIGATION
                                              Master File No. 1:13-md-2472-S-PAS
      THIS DOCUMENT RELATES TO:
                                              LEAVE TO FILE GRANTED 3/28/18
      Direct Purchaser Class Actions          (ECF NO. 376)


     DIRECT PURCHASER CLASS PLAINTIFFS’ THIRD AMENDED CONSOLIDATED
                CLASS ACTION COMPLAINT AND JURY DEMAND
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           Plaintiffs Ahold USA, Inc. and Rochester Drug Co-Operative, Inc. (collectively, the

    “direct purchaser class plaintiffs”) bring this class action, on behalf of themselves and all others

    similarly situated, based upon personal knowledge, the investigation of counsel, and information

    and belief, allege as follows:

                                        I.      INTRODUCTION

           1.      This civil antitrust action seeks damages arising out of (i) Warner Chilcott’s

    unlawful scheme to monopolize the market for oral contraceptives with 24 active tablets

    containing 1 mg norethindrone acetate and 20 µg ethinyl estradiol and four inactive iron tablets

    (the “Loestrin 24 drugs” or the “Loestrin 24 market”), and (ii) Warner Chilcott and Watson’s

    agreement to allocate that market and impair generic competition for branded Loestrin 24.

           2.      Wrongful Orange Book listing. Oral contraceptive products bearing the

    “Loestrin” name have been sold in the United States since 1973, including a formulation called

    Loestrin 1/20. The active pills contain relatively low doses of two hormones, norethindrone

    acetate and ethinyl estradiol, and are taken for 21 days. One of the known side effects of low

    dose birth control tablets is breakthrough bleeding or spotting. Some Loestrin products include

    “reminder” pills with no therapeutic value; some do not.

           3.      In the early 1990s, a professor at the Eastern Virginia Medical School, Dr. Gary

    Hodgen, tried to patent a birth control regimen that decreased the incidence of breakthrough

    bleeding consisting of taking the active pills in the product then commercially marketed as

    Loestrin 1/20 for longer than 21 days. Hodgen and his attorney made misrepresentations and

    omitted key information while prosecuting the patent.

           4.      First, the patent application cited only favorable bleeding rate data from a monkey

    study; Hodgen did not tell the United States Patent and Trademark Office (the “PTO”) that he

    himself had studied women who took active Loestrin 1/20 pills for 25 days (instead of 21 days)

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    and found no significant improvement in the incidence of breakthrough bleeding. Hodgen did

    discuss this failed study

                       . In 1993 and 1994, before the patent issued,                  negotiated and

    approved Warner Lambert’s acquisition of Hodgen’s patent application.

           5.      Second, when the patent examiner focused on the amount of ethinyl estradiol in

    then available oral contraceptives, Hodgen’s attorney misrepresented that no commercially

    available oral contraceptive combination formulations contained less than 30 µg of ethinyl

    estradiol. In truth, Loestrin 1/20, publicly available since the 1970s and the very drug used in

    Hodgen’s unsuccessful study, contained 20 µg of ethinyl estradiol.

           6.      The only explanation for (i) not disclosing the inventor’s own failed study in

    women and (ii) not accurately representing that Loestrin 1/20 contained the same ratios and

    amount of active ingredients as the claimed invention is that the applicants knew the patent

    would never issue if they came clean.

           7.      In 1996, the PTO issued U.S. Patent No. 5,552,394 (the “’394 patent”). Warner

    Chilcott later acquired the ’394 patent. On February 17, 2006, the FDA approved Warner

    Chilcott’s application to market Loestrin 24. Warner Chilcott listed the ’394 patent in the

    Orange Book as covering Loestrin 24.

           8.       The sham litigation. When generic manufacturer Watson sought FDA approval

    to market generic Loestrin 24, Warner Chilcott sued Watson for infringing the invalid and/or

    unenforceable ’394 patent. Warner Chilcott had no realistic expectation of succeeding on the

    merits – the stark light of patent litigation would reveal that the ’394 patent was invalid and

    unenforceable (whether as a result of Hodgen’s misrepresentations and omissions, because

    Loestrin 24 does not actually reduce the incidence of breakthrough bleeding, or because earlier



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    oral contraceptives containing the same amounts of active ingredients disclosed in the claims

    rendered the invention obvious). But Warner Chilcott nevertheless sued Watson and other

    generic manufacturers in hopes of delaying generic entry as long as possible.

             9.       The Watson agreement. Warner Chilcott knew that once it lost its patent lawsuit

    against Watson, its Loestrin 24 product would fall off the “patent cliff” – Watson’s generic

    product would quickly take 85% or more of the unit sales. This competition would save

    hundreds of millions of dollars for the direct purchaser class plaintiffs and other purchasers of

    Loestrin 24. In order to forestall this competition and consequent loss of sales, Warner Chilcott

    paid Watson to delay marketing its generic Loestrin 24. Under the guise of settling the patent

    lawsuit, Watson agreed to keep its generic Loestrin 24 off the market until January 2013, and, in

    exchange, Warner Chilcott agreed to pay Watson at least                     million. These payments included:

                      a.       A promise not to market a competing authorized generic (“AG”) version
                               of Loestrin 24 during the first 180 days that Watson’s generic Loestrin 24
                               was on the market (worth at least $41.34 million to Watson);1

                      b.       A promise not to grant a license to any other generic to enter the market
                               until at least six months after Watson had entered;

                      c.       Above-market-rate payments to Watson to help market another Warner-
                               Chilcott product, Femring (worth about          to Watson); and

                      d.       An agreement to provide Watson with licensing rights to another Warner
                               Chilcott product, Generess Fe, at below market rates (worth
                                        to Watson).

             10.      To shore up its market allocation agreement with Watson, Warner Chilcott



        1
          A no-authorized-generic (“no-AG”) agreement is a type of market allocation agreement in which a brand
    manufacturer pays a first-filer generic manufacturer to delay the launch of its generic by agreeing not to compete by
    withholding an AG (basically the brand drug product marketed and priced as a generic), during either the first-filer
    generic manufacturer’s first 180 days on the market or some other period. In such an arrangement, the value to the
    generic manufacturer is the opportunity to be the only generic on the market during those first 180 days, allowing
    the generic manufacturer to (i) obtain all generic sales during that time, instead of splitting the sales 50-50 with an
    AG, and (ii) charge a higher price for the generic in the absence of competition from the AG.


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    entered into agreements with later generics Lupin and Mylan.2 Both agreed to delay their

    launches until six months after Watson launched, promising not to launch until the ’394 patent

    expired.

              11.     The product hop. By the time the delayed entry dates finally arrived, Warner

    Chilcott had “hopped” the market from Loestrin 24 to another product: Minastrin 24. Warner

    Chilcott reformulated Loestrin 24 into Minastrin 24, with the purpose and effect of preventing

    generic Loestrin 24 from being substitutable for the “new” product at the pharmacy counter.

              12.     Minastrin 24 is Loestrin 24 with two minor tweaks: Warner Chilcott made what

    the FDA termed “insignificant manufacturing changes” to the active pills and added spearmint

    and a sweetener to the inactive “reminder” pills. Warner Chilcott did not do anything to make

    the active Loestrin pills more palatable, as it did not add sweeteners or flavors to them. Warner

    Chilcott simply tinkered with the flavoring of the “reminder” pills and changed the label to say

    that women could chew all the pills. After it had obtained a three-year marketing exclusivity

    based on the new chewable form, Warner Chilcott amended the label to say that women could, if

    they wanted, swallow the pills instead.

              13.     The modifications Warner Chilcott made to Loestrin 24 to create Minastrin 24

    had no meaningful safety, efficacy, or other benefit for patients. The tweaks did, however, mean

    that less expensive generic Loestrin 24 could not be substituted for Minastrin 24 at pharmacies.

    A pharmacist presented with a prescription for Loestrin 24 can automatically substitute a less

    expensive AB-rated generic version of Loestrin 24. But if presented with a prescription for

    Minastrin 24, a pharmacist could not fill the prescription with generic Loestrin 24. The trivial




       2
           Lupin Pharmaceutical, Inc., Lupin Ltd., and Mylan, Inc.


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    tweaks that Warner Chilcott made to Loestrin 24 to turn it into Minastrin 24 had the intentional

    effect of frustrating and thwarting the normal process of generic substitution.

           14.      Once the FDA approved Minastrin 24, Warner Chilcott employed its army of

    sales force detailers to cannibalize the Loestrin 24 prescriptions, i.e., to aggressively switch them

    to the new product. Then, in July 2013, Warner Chilcott strategically discontinued sales of

    Loestrin 24 to coerce doctors to switch patients to Minastrin 24 before generic Loestrin 24

    entered the market. By the time generic versions of Loestrin 24 finally entered the market in

    2014, they made far fewer sales because Warner Chilcott had switched the prescription base to

    Minastrin 24.

           15.      The direct purchasers’ injuries. But for the anticompetitive scheme and Watson

    agreement, a generic version of Loestrin 24 would have been available as early as September

    2009, when the FDA granted final approval to Watson’s generic Loestrin 24. Other generic

    versions of Loestrin 24, including an AG version marketed directly or indirectly by Warner

    Chilcott, would also have entered simultaneously, driving generic prices down to near marginal

    cost. The direct purchaser class plaintiffs and members of the class would have substituted the

    less expensive generic products for their purchases of more expensive branded Loestrin 24.

    Instead, as a result of defendants’ unlawful conduct, plaintiffs and all members of the direct

    purchaser class suffered injuries in the form of overcharges.

                                             II.     PARTIES

           16.      Plaintiff Ahold USA, Inc. (“Ahold”) is a Maryland corporation with its principal

    place of business located at 1385 Hancock Street in Quincy, Massachusetts. Ahold brings this

    action as an assignee of McKesson Corporation (“McKesson”). During the class period,

    McKesson purchased branded Loestrin 24 and Minastrin 24 directly from Warner Chilcott at

    supracompetitive prices; Ahold purchased branded Loestrin 24 and Minastrin 24 from McKesson

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  at supracompetitive prices and has thereby been injured. Ahold also purchased generic Loestrin

  24 directly from Amneal during the class period.

         17.     Plaintiff Rochester Drug Cooperative, Inc. (“RDC”) is a stock corporation duly

  formed and existing under the New York Cooperative Corporations Law, with its principal place

  of business located at 50 Jet View Drive, Rochester, New York 14624. During the class period,

  RDC purchased branded Loestrin 24 and Minastrin 24 directly from Warner Chilcott at

  supracompetitive prices and has thereby been injured. RDC also purchased generic Loestrin 24

  directly from generic manufacturers during the class period.

         18.     The defendants’ names and the corporate relationships between and among them

  have changed over time due to consolidation in the pharmaceutical industry. During much of the

  wrongdoing at issue in this case, the brand company interests of the Warner Chilcott entities and

  the generic company interests of the Watson entities were separate. More recently, these

  companies have become part of the same multinational corporation: Allergan plc.

         19.     Defendant Warner Chilcott Company, LLC (formerly known as Warner Chilcott

  Company, Inc.) is a limited liability company organized and existing under the laws of Puerto

  Rico, with its principal place of business at Road 195, Km. 1.1, Union Street, Fajardo, Puerto

  Rico. It maintains a place of business at 100 Enterprise Drive, Rockaway, New Jersey 07866.

  Warner Chilcott Company, Inc. was a party to the Watson agreement. Warner Chilcott

  Company, LLC is the current assignee of the ’394 patent. Warner Chilcott Company, LLC holds

  an approved NDA from the FDA for a formulation of oral contraceptives comprising 24

  norethindrone acetate/ethinyl estradiol (1 mg/20 µg) tablets and four ferrous fumarate tablets,

  which it sells throughout the United States under the brand name Loestrin 24. Warner Chilcott

  Company is a wholly owned subsidiary of Warner Chilcott plc.



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           20.   Defendant Warner Chilcott (US), LLC is a limited liability company organized

  and existing under the laws of Delaware, with its principal place of business at 100 Enterprise

  Drive, Rockaway, New Jersey 07866. Warner Chilcott (US), LLC helped pursue applications

  for FDA approval of Loestrin 24 and Minastrin 24 and holds NDCs for Loestrin 24.

           21.    Defendant Warner Chilcott Sales (US), LLC is a limited liability company

  organized and existing under the laws of Delaware, with its principal place of business at 100

  Enterprise Drive, Rockaway, New Jersey 07866. Warner Chilcott Sales (US) markets

  pharmaceuticals in the United States and also helped pursue applications for FDA approval of

  Loestrin 24 and Minastrin 24.

           22.   The foregoing defendants are collectively referred to as “Warner Chilcott.”

           23.    Defendant Watson Laboratories, Inc. is a company organized and existing under

  the laws of Nevada, with its principal place of business at 311 Bonnie Circle, Corona, California

  92880. Watson Laboratories, Inc. is a wholly owned subsidiary of Watson Pharmaceuticals,

  Inc., which, in 2013, became Actavis, Inc. Watson Laboratories, Inc. and Watson

  Pharmaceuticals, Inc. are parties to the Watson agreement.

           24.    Defendant Actavis, Inc. is a company organized and existing under the laws of

  Nevada, with its principal place of business at 400 Interplace Parkway, Parsippany, New Jersey

  07054.

           25.    Actavis, Inc., Watson Pharmaceuticals, Inc., and Watson Laboratories, Inc. are

  collectively referred to as “Watson.” Watson is engaged in the worldwide marketing,

  production, and distribution of generic pharmaceutical products, including in this judicial district.

           26.    On or about January 24, 2013, Watson Pharmaceuticals, Inc. acquired Actavis,

  Inc. and continued the merged operations under the name Actavis, Inc.



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          27.       On or about October 1, 2013, Actavis, Inc. acquired Warner Chilcott plc3 and

  continued the merged operations under the name Actavis plc.

          28.       In March 2015, Actavis plc acquired Allergan plc and, in June of 2015,

  announced that it would change its name to Allergan plc. Allergan plc markets branded and

  generic pharmaceuticals throughout the United States and has commercial operations in the

  United States and approximately 100 countries around the world.

          29.       Defendant Allergan plc is a public limited company incorporated under the laws

  of Ireland, with its principal place of business at 1 Grand Canal Square, Docklands, Dublin 2,

  Ireland. Allergan plc maintains a place of business within the United States at Morris Corporate

  Center III, 400 Interpace Parkway, Parsippany, New Jersey, 07054.

          30.       All of the defendants’ actions described in this complaint are part and in

  furtherance of the unlawful conduct alleged herein and were authorized, ordered, and/or done by

  the defendants’ various officers, agents, employees, or other representatives while actively

  engaged in the management of the defendants’ affairs (or those of their predecessors-in-interest)

  within the course and scope of their duties and employment and/or with the defendants’ actual,

  apparent, and/or ostensible authority.

                                  III.     JURISDICTION AND VENUE

          31.       This action alleges violations of sections 1 and 2 of the Sherman Act, 15 U.S.C.

  §§ 1 & 2, and seeks relief under section 4 of the Clayton Act, 15 U.S.C. § 15(a), to recover

  threefold damages, costs of suit, and reasonable attorneys’ fees for the injuries sustained by

  Ahold, RDC, and members of the direct purchaser class resulting from the defendants’


      3
        Warner Chilcott plc is a public limited company incorporated under the laws of Ireland, with its principal
  place of business at 1 Grand Canal Square, Docklands, Dublin 2, Ireland. It maintains a place of business at 100
  Enterprise Drive, Rockaway, New Jersey 07866. Though not named as a defendant, it was a parent company of the
  other Warner Chilcott entities at the time of the Actavis merger.


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  conspiracy to restrain trade in the United States in the Loestrin 24 market. The Court has subject

  matter jurisdiction under 28 U.S.C. §§ 1331, 1337(a) & 1407 and 15 U.S.C. § 15.

          32.      Venue is proper in this district pursuant to 15 U.S.C. §§ 15(a) & 22 and 28

  U.S.C. §§ 1391(b)-(d) because during the class period the defendants resided, transacted

  business, were found, or had agents in this district and a substantial portion of the alleged activity

  affecting interstate trade and commerce discussed below has been carried out in this district.

          33.      The defendants’ conduct was within the flow of and was intended to and did have

  a substantial effect on the interstate commerce of the United States, including in this district.

          34.      During the class period, Warner Chilcott manufactured, sold, and shipped

  Loestrin 24 and Minastrin 24 in interstate commerce. The conspiracy in which the defendants

  participated had a direct, substantial, and reasonably foreseeable effect on interstate commerce.

          35.      During the class period each defendant, or one or more of its affiliates, used

  instrumentalities of interstate commerce to join or effectuate their conspiracy.

          36.      This Court has personal jurisdiction over each defendant because each defendant

  has transacted business, maintained substantial contacts, and/or committed overt acts in

  furtherance of its illegal scheme and conspiracy throughout the United States, including in this

  district. The scheme and conspiracy have been directed at and have had the intended effect of

  causing injury to persons residing in, located in, or doing business throughout the United States,

  including in this district.

                   IV.      REGULATORY AND ECONOMIC BACKGROUND

  A.      The regulatory structure for approval and substitution of generic drugs.

          37.     Under the Federal Food, Drug, and Cosmetic Act (“FDCA”), manufacturers that

  create a new drug must obtain approval from the Food and Drug Administration (“FDA”) to sell



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  the product by filing a New Drug Application (“NDA”).4 An NDA must include specific data

  concerning the safety and effectiveness of the drug, as well as any information on applicable

  patents.5

            38.     When the FDA approves a brand manufacturer’s NDA, the manufacturer may list

  in Approved Drug Products with Therapeutic Equivalence Evaluations (known as the “Orange

  Book”) any patents that the manufacturer asserts could reasonably be enforced against a generic

  manufacturer that makes, uses, or sells a generic version of the brand drug before the expiration

  of the listed patents. The manufacturer may list in the Orange Book within 30 days of issuance

  any patents issued after the FDA approved the NDA.6

            39.     The FDA relies completely on the brand manufacturer’s truthfulness about patent

  validity and applicability because it does not have the resources or authority to verify the

  manufacturer’s patents for accuracy or trustworthiness. In listing patents in the Orange Book,

  the FDA merely performs a ministerial act.

            1.      The Hatch-Waxman amendments

            40.     The Hatch-Waxman amendments, enacted in 1984, simplified regulatory hurdles

  for prospective generic manufacturers by eliminating the need for them to file lengthy and costly

  NDAs.7 A manufacturer seeking approval to sell a generic version of a brand drug may instead

  file an Abbreviated New Drug Application (“ANDA”). An ANDA relies on the scientific

  findings of safety and effectiveness included in the brand manufacturer’s original NDA and must

  further show that the generic contains the same active ingredient(s), dosage form, route of



     4
         21 U.S.C. §§ 301-392.
     5
         21 U.S.C. §§ 355(a) & (b).
     6
         21 U.S.C. §§ 355(b)(1) & (c)(2).
     7
         See Drug Price Competition and Patent Term Restoration Act, Pub. L. No. 98-417, 98 Stat. 1585 (1984).


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  administration, and strength as the brand drug and that it is bioequivalent, i.e., absorbed at the

  same rate and to the same extent as the brand. The FDA assigns generics that meet these criteria

  relative to their brand counterparts an “AB” rating.

            41.     The FDCA and Hatch-Waxman amendments operate on the principle that

  bioequivalent drug products containing identical amounts of the same active ingredients, having

  the same route of administration and dosage form, and meeting applicable standards of strength,

  quality, purity, and identity are therapeutically equivalent and may be substituted for one

  another. Bioequivalence demonstrates that the active ingredient of the proposed generic would

  be present in the blood of a patient to the same extent and for the same amount of time as the

  brand counterpart.8 Nonetheless, even drugs that are bioequivalent, but which do not share the

  same dosage form, are not AB-rated to one another. To be AB-rated, a bioequivalent drug must

  be of the same dosage form. Under the AB-rating system, a tablet that is approved as

  “chewable” is not AB-rated to a tablet that is not approved as chewable, even though the drugs

  may be entirely bioequivalent.

            42.     Through the Hatch-Waxman amendments, Congress sought to expedite the entry

  of less expensive generic competitors to brand drugs, thereby reducing healthcare expenses

  nationwide. Congress also sought to protect pharmaceutical manufacturers’ incentives to create

  new and innovative products.

            43.     The Hatch-Waxman amendments achieved both goals, advancing substantially

  the rate of generic product launches and ushering in an era of historic high profit margins for

  brand pharmaceutical manufacturers. In 1983, before the Hatch-Waxman amendments, only

  35% of the top-selling drugs with expired patents had generic alternatives; by 1998, nearly all


     8
         21 U.S.C. § 355(j)(8)(B).


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  did. In 1984, prescription drug revenues for brands and generics totaled $21.6 billion; by 2013,

  total prescription drug revenues had climbed to more than $329.2 billion, with generics

  accounting for 86% of prescriptions.9 Generics are now dispensed 95% of the time when a

  generic form is available.10

             2.         ANDA paragraph IV certifications.

             44.        To obtain FDA approval of an ANDA, a manufacturer must certify that the

  generic will not infringe any patents listed in the Orange Book. Under the Hatch-Waxman

  amendments, a generic manufacturer’s ANDA must contain one of four certifications:

                        a.     That no patent for the brand has been filed with the FDA (a “paragraph I
                               certification”);

                        b.     That the patent for the brand has expired (a “paragraph II certification”);

                        c.     That the patent for the brand will expire on a particular date and the
                               manufacturer does not seek to market its generic before that date (a
                               “paragraph III certification”); or

                        d.     That the patent for the brand is invalid or will not be infringed by the
                               generic manufacturer’s proposed product (a “paragraph IV
                               certification”).11

             45.        If a generic manufacturer files a paragraph IV certification, a brand manufacturer

  has the ability to delay FDA approval of the ANDA simply by suing the ANDA applicant for

  patent infringement. If the brand manufacturer initiates a patent infringement action against the

  generic filer within forty-five days of receiving notification of the paragraph IV certification, the

  FDA will not grant final approval to the ANDA until the earlier of (i) the passage of two-and-a-

  half years, or (ii) the issuance of a decision by a court that the patent is invalid or not infringed


      9
       See IMS Institute for Healthcare Informatics, Medicine Use and Shifting Costs of Healthcare: A Review of the
  Use of Medicines in the U.S. in 2013, at 30, 51 (Apr. 2014).
      10
           Id. at 51.
      11
           21 U.S.C. § 355(j)(2)(A)(vii).


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  by the generic manufacturer’s ANDA.12 Until one of those conditions occurs, the FDA may

  grant “tentative approval,” but cannot authorize the generic manufacturer to market its product

  (i.e., grant final approval). The FDA may grant an ANDA tentative approval when it determines

  that the ANDA would otherwise be ready for final approval but for the 30 month stay.

           3.      Patents are not bulletproof.

           46.     Patents are not bulletproof. Patents are routinely invalidated or held

  unenforceable, either upon reexamination by the PTO, by court decision, or by jury verdict. A

  patent holder at all times bears the burden of proving infringement.

           47.     One way that a generic can prevail in patent infringement litigation is to show that

  its product does not infringe the patent (and/or that the patent holder cannot meet its burden to

  prove infringement). Another is to show that the patent is invalid or unenforceable. For

  example, a patent is invalid or unenforceable when the disclosed invention is obvious in light of

  earlier prior art. A patent is also invalid or unenforceable when an inventor, an inventor’s

  attorney, or another person involved with the application, with intent to mislead or deceive the

  PTO, fails to disclose material information known to that person to be material, or submits

  materially false information to the PTO during prosecution.

           48.     In those circumstances, the PTO’s decision to issue a patent does not substitute

  for a fact-specific assessment of (i) whether the applicant made intentional misrepresentations or

  omissions on which the PTO relied in issuing the patent, and (ii) whether a reasonable

  manufacturer in the patent holder’s position would have a realistic likelihood of succeeding on



      12
        21 U.S.C. § 355(j)(5)(B)(iii). This period is commonly called a “30-month Hatch-Waxman stay” or “30-
  month stay.” The brand/patent holder can choose to sue the generic after 45 days, including waiting until the
  generic has launched its product, but, in that event, the brand cannot take advantage of the 30-month stay of FDA
  approval, and must instead satisfy the showing required to obtain a preliminary injunction to prevent the generic
  launch.


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  the merits of a patent infringement suit.

             49.      As a statistical matter, if the parties litigate to a decision on the merits, it is more

  likely that a challenged patent will be found invalid or not infringed than upheld. The FTC

  reports that generics prevailed in 73% of Hatch-Waxman patent litigation cases resolved on the

  merits between 1992 and 2002.13 An empirical study of all substantive decisions rendered in

  every patent case filed in 2008 and 2009 similarly reports that when a generic challenger stays

  the course until a decision on the merits, the generic wins 74% of the time.14

             4.       The first filer’s 180-day exclusivity period.

             50.      Generics may be classified as (i) first-filer generics, (ii) later generic filers, or (iii)

  authorized generics.

             51.      To encourage manufacturers to seek approval of generic versions of brand drugs,

  the Hatch-Waxman amendments grant the first paragraph IV generic manufacturer ANDA filer

  (“first filer”) a 180-day exclusivity period to market the generic version of the drug, during

  which the FDA may not grant final approval to any other generic manufacturer’s ANDA for the

  same brand drug.15 That is, when a first filer files a substantially complete ANDA with the FDA

  and certifies that the unexpired patents listed in the Orange Book as covering the brand are either

  invalid or not infringed by the generic, the FDA cannot approve a later generic manufacturer’s

  ANDA until that first generic has been on the market for 180 days, or until its first-filer

  exclusivity has been forfeited.



      13
          FTC, Generic Drug Entry Prior to Patent Expiration: An FTC Study, at vi-vii (July 2002),
  https://www.ftc.gov/sites/default/files/documents/reports/generic-drug-entry-prior-patent-expiration-ftc-
  study/genericdrugstudy_0.pdf.
      14
         John R. Allison, Mark A. Lemley & David L. Schwartz, Understanding the Realities of Modern Patent
  Litigation, 92 Tex. L. Rev. 1769, 1787 (2014) (“[P]atentees won only 164 of the 636 definitive merits rulings, or
  26%,” and “that number is essentially unchanged” from a decade ago.).
      15
           21 U.S.C. § 355(j)(5)(B)(iv) & (D).


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          52.      The 180-day window is referred to as the first filer’s six-month or 180-day

  “exclusivity,” though it is a bit of a misnomer, because a brand manufacturer (such as Warner

  Chilcott) can launch an AG version of its own brand under its own NDA at any time, and brand

  manufacturers frequently do so in response to generic entry in order to recoup some of the sales

  they would otherwise lose.

          53.      The Supreme Court has recognized that “this 180-day period of exclusivity can

  prove valuable, possibly ‘worth several hundred million dollars’” to the first filer.16

          54.      A first filer that informs the FDA it intends to wait until all Orange Book-listed

  patents expire before marketing its generic does not get a 180-day exclusivity period. Congress

  created this 180-day period to incentivize generic manufacturers to challenge weak or invalid

  patents or to invent around such patents by creating non-infringing generics.

          55.      Amendments to Hatch-Waxman provide that a first filer forfeits its 180-day

  exclusivity by, for example, failing to obtain tentative approval from the FDA for its ANDA

  within 30 months of filing its ANDA.

  B.       The competitive effects of AB-rated generic competition.

          56.      Generics contain the same active ingredient(s) and are determined by the FDA to

  be just as safe and effective as their brand counterparts. The only material difference between

  generics and their corresponding brand versions is their price. Because generics are commodities

  that cannot be differentiated, the primary basis for generic competition is price. Typically,

  generics are at least 10% less expensive than their brand counterparts when there is a single

  generic competitor, and this discount typically increases to 50% to 80% (or more) when there are




     16
        FTC v. Actavis, Inc., 133 S. Ct. 2223, 2229 (2013) (quoting C. Scott Hemphill, Paying for Delay:
  Pharmaceutical Patent Settlement as a Regulatory Design Problem, 81 N.Y.U. L. Rev. 1553, 1579 (2006)).


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  multiple generic competitors on the market for a given brand. Consequently, the launch of a

  generic usually results in significant cost savings for all drug purchasers.

           57.     Since the passage of the Hatch-Waxman amendments, every state has adopted

  drug product selection laws that either require or permit pharmacies to substitute AB-rated

  generic equivalents for brand prescriptions (unless the prescribing physician specifically directs

  that substitution is not permitted). Substitution laws and other institutional features of

  pharmaceutical distribution and use create the economic dynamic that the launch of AB-rated

  generics results both in rapid price decline and rapid sales shift from brand to generic purchasing.

  Once a generic hits the market, it quickly captures sales of the corresponding brand drug, often

  80% or more of the market within the first six months after entry. In a recent study, the Federal

  Trade Commission (“FTC”) found that on average, within a year of generic entry, generics had

  captured 90% of corresponding brand sales and (with multiple generics on the market) prices had

  dropped 85%.17 As a result, competition from generics is viewed by brand manufacturers, such

  as Warner Chilcott, as a grave threat to their bottom lines.

           58.     Generic competition enables all direct purchasers of a drug to (i) purchase generic

  versions of the drug at substantially lower prices, and/or (ii) purchase the brand at a reduced

  price.

           59.     Until a generic version of the brand enters the market, however, there is no

  bioequivalent drug to substitute for and compete with the brand, and the brand manufacturer can

  therefore continue to profitably charge supracompetitive prices. Brand manufacturers, such as

  Warner Chilcott, are well aware of generics’ rapid erosion of their brand sales. Brand



      17
          See FTC, Pay-for-Delay: How Drug Company Pay-Offs Cost Consumers Billions (Jan. 2010),
  https://www.ftc.gov/sites/default/files/documents/reports/pay-delay-how-drug-company-pay-offs-cost-consumers-
  billions-federal-trade-commission-staff-study/100112payfordelayrpt.pdf (“FTC Pay-for-Delay Study”).


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  manufacturers thus seek to extend their monopoly for as long as possible, sometimes resorting to

  any means possible – including illegal means.

           1.      The first AB-rated generic is priced below the brand.

           60.     Experience and economic research show that the first generic manufacturer to

  market its product prices it below the prices of its brand counterpart.18 Every state either

  requires or permits that a prescription written for the brand be filled with an AB-rated generic.

  Thus, the first generic manufacturer almost always captures a large share of sales from the brand.

  At the same time, there is a reduction in the average price paid for the drug at issue (brand and

  AB-rated generic combined).

           61.     During the 180-day exclusivity period, the first filer is the only ANDA-approved

  generic manufacturer on the market (the brand’s AG can be, and often is, on the market during

  the 180-day exclusivity period). In the absence of competition from other generics, during the

  180-day exclusivity period, a first-filer generic manufacturer generally makes about 80% of all

  of the profits that it will ever make on the product.

           2.      Later generics drive prices down further.

           62.     Once generic competitors enter the market, the competitive process accelerates,

  and multiple generic manufacturers typically compete vigorously with each other over price,

  driving prices down toward marginal manufacturing costs.19

           63.     According to the FDA and the FTC, the greatest price reductions are experienced


      18
          FTC, Authorized Generic Drugs: Short-Term Effects and Long-Term Impact, at ii-iii, vi, 34 (Aug. 2011),
  https://www.ftc.gov/sites/default/files/documents/reports/authorized-generic-drugs-short-term-effects-and-long-
  term-impact-report-federal-trade-commission/authorized-generic-drugs-short-term-effects-and-long-term-impact-
  report-federal-trade-commission.pdf (“FTC 2011 AG Study”); FTC Pay-for-Delay Study at 1.
      19
        See, e.g., Patricia M. Danzon & Li-Wei Chao, Does Regulation Drive Out Competition in Pharmaceutical
  Markets?, 43 J.L. & Econ. 311 (2000); Tracy Regan, Generic Entry and Price Competition in the Prescription Drug
  Market – 18 Years after the Waxman-Hatch Act (Univ. of Miami, Dep’t of Econ., Working Paper, 2004); Richard G.
  Frank, The Ongoing Regulation of Generic Drugs, 357 New Eng. J. Med. 1993 (2007).


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  when the number of generic competitors goes from one to two. In that situation, there are two

  commodities that compete on price. Some typical estimates are that a single generic results in a

  near term retail price reduction of around 10% as compared to the brand price, but that with two

  generic entrants the near term retail price reduction is about 50%.

             64.    In a report by the FTC issued at the request of Congress in 2011, the FTC found

  that generics captured 80% or more of sales in the first six months.20 In the end, total payments

  to the brand manufacturer decline to a small fraction of the amounts paid before generic entry.

  This is so because, “[a]lthough generic drugs are chemically identical to their branded

  counterparts, they are typically sold at substantial discounts from the branded price. According

  to the Congressional Budget Office, generic drugs save consumers an estimated $8 to $10 billion

  a year at retail pharmacies. Even more billions are saved when hospitals use generics.”21

             3.     Authorized generics, like other generics, compete on price.

             65.    Nothing prevents a brand manufacturer from selling an AG at any time. An AG is

  chemically identical to the brand but sold as a generic, typically through either the brand

  manufacturer’s subsidiary (if it has one) or through a third-party distributor. An AG is

  essentially the brand in a different package.

             66.    One study notes that “pharmaceutical developers facing competition from

  generics have large incentives to compete with their own or licensed ‘authorized generics.’”22

             67.    Brand manufacturers sometimes begin selling AGs before the first-filer generic




      20
           FTC 2011 AG Study at 66-67.
      21
         See Generic Drugs: Questions and Answers, FDA, http://www.fda.gov/drugs/resourcesforyou/
  consumers/questionsanswers/ucm100100 htm (last visited May 9, 2016).
      22
         Kevin A. Hassett & Robert J. Shapiro, Sonecon, LLC, The Impact of Authorized Generic Pharmaceuticals on
  the Introduction of Other Generic Pharmaceuticals, at 3 (May 2007), http://www.sonecon.com/
  docs/studies/050207_authorizedgenerics.pdf.


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  enters the market in order to secure multi-year purchase contracts with direct purchasers and load

  the generic pipeline at the expense of the first-filer generic.

             68.       Competition from an AG substantially reduces drug prices and the revenues of

  the first-filer generic (especially during the 180-day exclusivity period, when no other ANDA

  generic can be on the market). A study analyzing three examples of AGs found that “[f]or all

  three products, authorized generics competed aggressively against independent generics on price,

  and both the authorized and independent generics captured substantial market share from the

  brand.”23

             69.     The FTC found that AGs capture a significant portion of sales, reducing the first-

  filer generic’s revenues by approximately 50% on average.24 The first-filer generic makes much

  less money when it faces competition from an AG because (i) the AG takes a large share of unit

  sales away from the first filer; and (ii) the presence of the AG causes prices, particularly generic

  prices, to decrease.

  C.         Pharmaceutical manufacturers game the regulatory structure in order to impair
             competition.

             70.     When they do not face generic competition, brand manufacturers can usually sell

  the brand far above the marginal cost of production, generating profit margins in excess of 70%

  while making hundreds of millions of dollars in sales. The ability to make those kinds of profit

  margins is what economists call market power. When generics enter the market, however, they

  quickly take 90% or more of the unit sales. And when multiple generics are in the market, the

  competition between the generics drives their prices to near the marginal cost of production.



       23
         Ernst R. Berndt et al., Authorized Generic Drugs, Price Competition, and Consumers’ Welfare, 26 Health
  Affairs 790, 796 (2007).
       24
            FTC 2011 AG Study at 139.


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  This competition puts an end to the brand manufacturer’s market power and delivers enormous

  savings to drug purchasers.

          71.     Brand and generic manufacturers have a collective interest in preventing this

  competition from breaking out. If they work together to prevent or delay competition, they can

  keep the profit margins on all of the unit sales at 70% and split the resulting excess profits among

  themselves. They can keep for themselves the enormous savings that competition would have

  delivered to drug purchasers.

          72.     A brand manufacturer in the marketplace without competition from generics gets

  all of the profits on all of the unit sales.

          73.     When generic entry occurs, the brand manufacturer loses most of the unit sales;

  generic manufacturers sell most of the units, but at drastically reduced prices; and competition

  delivers enormous savings to consumers. Competition converts what formerly were excess

  profits into purchaser savings.

          74.     To prevent this from happening, brand and generic manufacturers sometimes –

  unlawfully – agree to not compete and instead split the purchaser savings between themselves.

          75.     Figure 1 compares the impact on a brand manufacturer’s profits between (i) a

  situation where it settles a patent lawsuit on the merits (i.e., with only an agreed entry date and

  without a pay-off to the generic company); and (ii) a situation where it settles the lawsuit with a

  large, unjustified payment to the generic manufacturer. In the former situation, the agreed entry

  date for the generic is earlier and the brand manufacturer’s profits are thus greatly reduced. In

  the latter situation, the agreed entry date is later and the brand manufacturer’s profits increase

  significantly. Earlier entry may also occur if the generic manufacturer launches its product at

  risk (i.e., while the litigation is still pending) or prevails in the patent litigation and then launches



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  its product.

                         Figure 1. Impact of Generic Delay on Brand Profits




         76.     In order for such an anticompetitive pact to work, brand and generic

  manufacturers need a means by which to divide the purchaser savings between themselves. The

  generic manufacturer will not refrain from competing if it does not share in the ill-gotten gains

  through some means. Pay-offs from the brand manufacturer are the means by which brand and

  generic manufacturers divide between themselves the ill-gotten gains that delayed competition

  makes possible. These unlawful pay-off deals are often referred to as “pay-for-delay,”

  “exclusion payment,” or “reverse payment” agreements.

         77.     It is often necessary for the brand manufacturer to pay off only the first generic

  manufacturer that included a paragraph IV certification in its ANDA (the so-called first filer).

  The first filer’s agreement to delay marketing its drug also prevents other generic manufacturers

  from marketing their products.



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          78.     Later ANDA filers have more modest financial expectations because they have no

  expectation of any form of market exclusivity. By the time they enter the market, there is at least

  the brand and one other generic on the market (and often a second generic in the form of an AG)

  and, thus, the drug has already been or is on its way to being commoditized.

          79.     In the absence of an anticompetitive agreement between the brand company and

  the first filer, later ANDA filers have procompetitive incentives. They are motivated to expend

  resources to challenge the brand manufacturer’s patent(s) (knowing that the first-filer generic is

  also fighting a patent infringement suit) and to enter the market as early as possible.

          80.     When an anticompetitive agreement with the first filer is already in place,

  however, pursuing the litigation to conclusion becomes less attractive to later filers. The later

  generic manufacturers know that the first filer is not leading the charge against the brand

  manufacturer’s patent(s) (and has sometimes stipulated to the validity or enforceability of the

  patents as part of an anticompetitive reverse payment settlement). The later generics have to

  bear the brunt of the litigation costs themselves and, upon prevailing in the patent litigation,

  expect to face competition from at least the first-filer generic, and typically an authorized generic

  as well, despite having expended time and resources litigating the infringement case. The first

  settlement between a brand and first-filer generic (such as the Watson agreement at issue here)

  will often provide that, if a later generic filer launches its generic before the delayed date agreed

  to by the brand and the first filer, the first filer is permitted to launch then as well – greatly

  reducing the incentive the later filer would otherwise have to continue fighting to enter as soon

  as possible.

          81.     Thus, some later generics decide to simply give in to or join the conspiracy

  between the brand manufacturer and the first-filer generic and agree to drop their challenges to



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  the brand manufacturer’s patent(s) and stay off the market until after entry by the first filer.

          82.     Exclusion payment agreements are fundamentally anticompetitive and contrary to

  the goals of the Hatch-Waxman statutory scheme. In particular, they extend the brand

  manufacturer’s monopoly by blocking access to more affordable generic drugs, forcing

  purchasers to buy expensive brands instead.

          1.      No-AG clauses provide a means for manufacturers to share the gains from
                  conspiring.

          83.     In the 1990s, the pay-offs from brand manufacturers often took the form of cash

  payments to the generic competitor. Since the 2000s, as a result of regulatory scrutiny,

  congressional investigations, and class action lawsuits, brand and generic manufacturers have

  entered into increasingly more elaborate agreements in an attempt to hide the pay-offs.

          84.     One form of pay-off at issue in this case is a no-AG clause. Pursuant to a no-AG

  clause, the brand manufacturer agrees not to market an AG version of the brand drug for some

  period of time after the first generic enters.

          85.     The first filer’s ANDA exclusivity does not prohibit the brand manufacturer from

  marketing its NDA-based AG. The Hatch-Waxman amendments’ 180-day marketing period is

  “exclusive” only as against other ANDA-based products, not as against the brand manufacturer’s

  NDA-based AG.

          86.     Absent a no-AG clause, it almost always makes economic sense for the brand

  manufacturer to begin marketing an AG as soon as (or weeks or months before) the first generic

  enters the marketplace. But competition from an AG has a drastically negative effect on the

  first-filer generic’s revenues. Competition from an AG typically cuts the first filer’s revenues by

  more than half, as the competing generic takes a substantial volume of the unit sales and drives

  prices lower – delivering commensurate savings to drug purchasers.


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         87.        To prevent an AG from causing this substantial loss of revenues and profits, a

  first-filer generic may be willing to delay its entry into the marketplace in return for the brand

  manufacturer’s agreement to forgo competing with an AG. The additional monopoly profits that

  the brand manufacturer gains from the delayed onset of generic competition more than makes up

  for the profits it forgoes by not competing with an AG. The brand manufacturer gains from the

  delayed onset of generic competition. The first filer gains from the absence of generic

  competition for the first 180 days of marketing. And drug purchasers lose – first by the delay in

  the onset of generic competition, and then by the absence of AG competition once generic entry

  finally occurs.

         88.        The brand and first filer’s reciprocal pledges not to compete harm purchasers

  thrice over. The pact delays the first filer’s entry into the marketplace and thereby extends the

  time during which the brand is the only product on the market. By delaying the first filer’s entry,

  the pact also delays the time when other generics enter. And the pact prevents the brand from

  marketing an AG during the 180-day exclusivity period, reducing price competition during that

  period, particularly price competition that would otherwise occur between the first filer’s generic

  and the brand’s AG.

         89.        For the first filer, the difference between selling the only generic and competing

  against an AG for 180 days can amount to tens or even hundreds of millions of dollars,

  depending on the size of the brand’s sales. A no-AG pledge thus has the same economic effect

  as a pay-off made in cash. As explained by the then-Chairman of the FTC:

                    Because the impact of an authorized generic on first-filer revenue
                    is so sizable, the ability to promise not to launch an AG is a huge
                    bargaining chip the brand company can use in settlement
                    negotiations with a first-filer generic. It used to be that a brand
                    might say to a generic, “if you go away for several years, I’ll give
                    you $200 million.” Now, the brand might say to the generic, “if I


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                   launch an AG, you will be penalized $200 million, so why don’t
                   you go away for a few years and I won’t launch an AG.”25

           90.     For a first filer (like Watson) of a brand with hundreds of millions of dollars in

  annual sales (like Loestrin 24), the difference between selling a generic without having to

  compete against an AG and selling in competition with an AG can amount to many millions of

  dollars. These economic realities are well known in the pharmaceutical industry. No-AG

  agreements like the one between Warner Chilcott and Watson thus allow competitors to benefit

  from an agreement not to compete and deny purchasers the consumer surplus that should flow to

  them from increased competition.

           91.     Figure 2 depicts what happens when a settlement agreement includes a no-AG

  promise. The red area shows the brand manufacturer’s additional monopoly profits earned

  during the period of delay. The purple area shows the amount of monopoly profit the brand

  manufacturer gives up (i.e., shares with the generic).




      25
         Statement of Chairman Jon Leibowitz on the Release of the Commission’s Interim Report on Authorized
  Generics, (June 2009), https://www.ftc.gov/sites/default/files/documents/reports/authorized-generics-interim-report-
  federal-trade-commission/p062105authgenstatementleibowitz.pdf.



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                          Figure 2. Impact of No-AG Clause on Brand Profits




         92.     Figure 3 depicts the generic manufacturer’s principal considerations in deciding

  whether to accept a no-AG settlement. Without a settlement, the generic could enter earlier –

  either when the 30-month stay expires (“at risk”) or when it wins the litigation. The generic

  manufacturer’s profits (gross margins) would be high during the 180-day exclusivity period and

  then fall rapidly as additional generics enter. This profit flow is somewhat uncertain because (i)

  if the generic launches at risk, it could (theoretically) later be found to infringe a valid patent and

  (ii) it is expected that the brand manufacturer will launch an authorized generic. With a no-AG

  promise, the profit flow occurs later but is more certain and is larger – roughly twice the size –

  because the generic manufacturer does not lose half of the market to the brand manufacturer’s

  authorized generic can charge a higher price.




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                         Figure 3. Impact of No-AG Promise on Generic’s Profits




         93.     Pay-offs by means of no-AG clauses usually exceed the value that the first filer

  could have obtained even if it had won the patent infringement litigation. During the first six

  months the first filer typically makes 80% of all the profits it will ever make on the product. As

  a reward for challenging the patent, the Hatch-Waxman amendments provide the first filer a

  period of 180 days of ANDA exclusivity. But the Hatch-Waxman amendments do not prevent

  the brand manufacturer from marketing an authorized generic during that time, and the brand

  manufacturer would market an authorized generic if the generic manufacturer entered the market

  after gaining final approval. By settling the patent case in exchange for a no-AG pay-off, the

  first filer converts that critical six months into a period of total generic exclusivity, thus doubling

  its unit sales and making those sales at a higher price.




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         2.      Brand manufacturers use anticompetitive product hops.

         94.     Another way that brand manufacturers impair generic competition is by

  preventing the generic from being AB-rated to the brand drug and thereby impairing generic

  substitution. The AB-rating requirement for generic drugs is designed to ensure therapeutic

  equivalence to the reference product. It is concerned only with safety and efficacy and not with

  effects on competition.

         95.     FDA regulations permit brand manufacturers to seek FDA approval to modify the

  dosage form and strength of their existing products. An unscrupulous brand manufacturer that

  anticipates the onset of generic competition to its drug can modify the dosage form, strength, or

  some other characteristic of its product from, say, A to A1, for the purpose of preventing the

  anticipated generic product from being A-B rated to the “new” brand product. Before the

  generic manufacturer receives FDA approval for the generic version of brand drug A and enters

  the market, the brand manufacturer can get approval for brand drug A1 and then cannibalize the

  sales of brand drug A – i.e., use its massive sales force to get doctors to switch their prescriptions

  from A to A1. Thus, before the generic of brand A enters the market the brand manufacturer will

  have: (i) ensured that the generic product cannot be AB-rated to, and substitutable for, brand A1;

  and (ii) switched the prescription base from A to A1. Consequently, when the generic for brand

  drug A finally gets FDA approval to enter the market, it will garner few sales as a generic

  because it is not substitutable for the new brand product to which the prescription base has been

  switched.

         96.     The timing of the product hop is critical. It is well known in the pharmaceutical

  industry that if generic versions of the original brand product enter the market before the brand

  follow-on product, the latter will make very few sales unless it offers substantial, demonstrable

  medical benefits to consumers. For example, one brand manufacturer estimated that it would

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  make ten times more sales of its brand follow-on product if it beat generic versions of the

  original product onto the market. In a detailed inquiry into the pharmaceutical industry, the

  European Commission concluded that “it is of utmost importance for the originator company to

  bring the follow-on product on the market before the first product effectively loses

  exclusivity.”26 Industry analysts in the United States have reached the same conclusion, warning

  brand manufacturers it is essential that they switch patients to the new formulation before the

  generic enters.

          97.       It is equally well known that, after a product hop, doctors are unlikely to prescribe

  the original product – in this case, Loestrin 24. Having switched their prescribing habits from

  the original to the reformulated product – and having switched specific patients’ medications

  from the original to a reformulated product – most doctors will not switch their prescribing

  habits or their patients back to the original product after the generic is available. And

  pharmacists are unable to combat the hop through the efficient mechanism of automatic

  substitution because the dosage form and/or dosage amount is different. Thus, in most instances,

  the generic’s opportunity to compete for those original brand sales is gone forever.

          98.       Brand manufactures know that, if they successfully cannibalize the original

  product’s sales before the generics enter the market, the generics may not ever come to market.

  Automatic substitution at the pharmacy counter is a generic’s only cost-efficient means of

  competing. Costs incurred to encourage a doctor to write a prescription for a particular

  company’s generic would be squandered because the pharmacist can fill the prescription with a

  competitor’s AB-rated generic. And this is a good thing. If a generic manufacturer could




       26
          European Commission, Pharmaceutical Sector Inquiry Final Report, at 356 (July 8, 2009),
  http://ec.europa.eu/competition/sectors/pharmaceuticals/inquiry/staff_working_paper_part1.pdf


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  profitably market the product to doctors on a basis other than price, this would merely replicate

  the price-disconnect failure in these markets. The price disconnect is the problem impeding cost-

  efficient competition, and AB-rated substitution at the pharmacy counter is the cure.

                                      V.       STATEMENT OF FACTS

  A.        The FDA approves Warner Chilcott’s Loestrin 24.

            1.     Loestrin’s active ingredients have been used to prevent pregnancy since the
                   1970s.

            99.    Traditional oral contraceptives contain 21 active pills, taken once a day for 21

  days. Many oral contraceptives include 7 inactive iron pills.

            100.   The active ingredients in Loestrin 24, the hormones norethindrone acetate and

  ethinyl estradiol, are not protected by any patent. In fact, norethindrone and ethinyl estradiol

  have served as active ingredients in oral contraceptives bearing the “Loestrin” name since the

  early 1970s.

            101.   On April 30, 1973, the FDA simultaneously approved NDAs for Loestrin Fe

  1.5/30 and Loestrin 1/20 as methods of oral contraception in women.27 Both provide a

  continuous dosage regimen consisting of 21 active pills containing norethindrone acetate and

  ethinyl estradiol.28

            102.   Both Loestrin 1.5/30 and Loestrin 1/20 include seven inactive “reminder” iron

  pills that – according to the label – do not serve any therapeutic purpose; they are present only to




       27
         For all Loestrin products, the “Fe” is sometimes dropped from the name. “Loestrin Fe 1/20” and “Loestrin
  1/20” refer to the same product. “Loestrin 24 Fe” and “Loestrin 24” refer to the same product.
       28
         The active pills in Loestrin 1.5/30 are pink and contain 1.5 mg norethindrone acetate and 30 µg ethinyl
  estradiol. The active pills in Loestrin 1/20 are yellow and contain 1 mg norethindrone acetate and 20 µg ethinyl
  estradiol. The numerators in the fractions in the Loestrin drug products’ names refer to the number of milligrams of
  norethindrone acetate contained in an active tablet. The denominators refer to the number of micrograms of ethinyl
  estradiol contained in an active tablet.


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  facilitate ease of drug administration via a 28-day regimen.29

            103.     There is a question as to whether giving women iron tablets helps combat the

  potential anemia sometime associated with menstruation. But it should not be assumed that all

  patients desiring an oral contraceptive agent are anemic; administering iron when it is not needed

  can lead to iron poisoning.

            104.     On October 1, 1976, the FDA approved two additional Loestrin formulations,

  Loestrin 21 1.5/30 and Loestrin 21 1/20. Loestrin 21 1/20 is known as “Loestrin 21”. The

  Loestrin 21 1.5/30 and Loestrin 21 formulations include only 21 active tablets. The patient takes

  one tablet daily for 21 consecutive days followed by one week of no tablets. This is described as

  “three weeks on – one week off.”

            105.     Loestrin 1/20 and Loestrin 21 both contain 21 of the same active tablets. The

  only difference is that the Loestrin 21 pack does not contain any inactive tablets.

            106.     Loestrin 1.5/30 and Loestrin 21 1.5/30 both contain the same active tablets. The

  only difference is that the Loestrin 21 1.5/30 pack does not contain any inactive tablets.

            107.     Generic versions of all four first-generation Loestrin products have been available

  for decades. Defendant Watson sells, or used to sell, FDA-approved generic versions of all four

  products.

            2.       The active pills in Loestrin 24 are the same as those in Loestrin 1/20 and
                     Loestrin 21.

            108.     On April 15, 2005, Warner Chilcott submitted NDA 21-871 seeking FDA

  approval to market what became known as Loestrin 24. The FDA approved the NDA on

  February 17, 2006.




     29
          The terms placebo, inactive pills, reminder pills, and iron pills are used interchangeably.


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              109.     Loestrin 24 contains 24 active tablets (containing 1 mg of norethindrone acetate

  and 20 µg of ethinyl estradiol) and 4 placebo tablets (containing ferrous fumarate).

              110.     Loestrin 24 contains the same active tablets as Loestrin 1/20 and Loestrin 21.

  Loestrin 24 contains 24 active tablets in each pack (instead of 21).

              111.     The labeling for Loestrin 24 refers to the inactive tablets as “reminder” pills. It

  instructs patients to “THROW AWAY” the reminder pills they missed if they forget to take one.

              112.     Warner Chilcott earned over $1.75 billion in revenue from branded Loestrin 24

  sales through the end of 2012.

                                            Year                    Annual Revenue30

                                            2012                      $389 million

                                            2011                      $396 million

                                            2010                      $342 million

                                            2009                      $247 million

                                            2008                      $197 million

                                            2007                      $148 million

                                            2006                      $ 44 million


  B.          Warner Chilcott lists the ’394 patent in the Orange Book as covering Loestrin 24,
              despite knowing it is invalid or unenforceable.

              113.     On April 15, 2005, as part of its NDA filings, Warner Chilcott identified the ’394

  patent as covering Loestrin 24 or a method of using Loestrin 24. Warner Chilcott told the FDA

  that the ’394 patent expired on July 22, 2014.



       30
            Reflects IMS data for branded Loestrin 24 sales only.


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            114.    The purported invention described in the ’394 patent is a method of oral

  contraception characterized by a reduced incidence of breakthrough bleeding that comprises

  administering the claimed combination of estrogen and progestin for 23-25 consecutive days of a

  28-day cycle.

            115.    Loestrin 24 is the purported commercial embodiment of the ’394 patent.

            116.    Before listing the ’394 patent, Warner Chilcott knew that it was invalid and/or

  unenforceable. Warner Chilcott listed the patent in order to interfere with its generic

  competitors’ ability to bring less expensive versions of Loestrin 24 to market.

            1.      The ’394 patent application and issuance.

            117.    On July 22, 1994, Dr. Gary Hodgen – a professor at the Eastern Virginia Medical

  School (“EVMS”)31 – applied for a patent for a method of female contraception characterized by

  a reduced incidence of breakthrough bleeding by administering a combination of estrogen and

  progestin for 23-25 consecutive days of a 28-day cycle in which the daily amounts of estrogen

  and progestin are equivalent to about 5-35 µg of ethinyl estradiol and about 0.025 to 10 mg of

  norethindrone acetate. Hodgen assigned the application to his employer, EVMS.

            118.    The title of the patent is “Low Dose Oral Contraceptives with Less Breakthrough

  Bleeding and Sustained Efficacy.”32

            119.    Breakthrough bleeding, also referred to as spotting or intermenstrual bleeding,

  refers to vaginal bleeding that occurs mid-cycle, as opposed to during menstruation.

  Breakthrough bleeding is a common but annoying and potentially embarrassing side effect

  associated with many oral contraceptives. It is thought to occur more often when women start



     31
          Formerly called the Medical College of Hampton Roads.
     32
          All emphasis added unless otherwise specified.


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  taking an oral contraceptive or switch oral contraceptives. Breakthrough bleeding generally is

  greatest in the first three to four months after starting an oral contraceptive, and it steadily

  declines and typically stabilizes by the end of the fourth cycle.

          120.    The patent specification states, “[i]t is the object of the present invention to

  provide a new estrogen-progestin combination and regimen for oral contraceptive use which

  maintains the efficacy and provides enhanced control of endometrial bleeding.”

          121.    Claim 1 recites:

                  A method of female contraception which is characterized by a
                  reduced incidence of breakthrough bleeding after the first cycle
                  which comprises monophasicly administering a combination of
                  estrogen and progestin for 23-25 consecutive days of a 28 day
                  cycle in which the daily amounts of estrogen and progestin are
                  equivalent to about 1-35 mcg of ethinyl estradiol and about 0.025
                  to 10 mg of norethindrone acetate, respectively, and in which the
                  weight ratio of estrogen to progestin is at least 1:45 calculated as
                  ethinyl estradiol to norethindrone acetate.

  Claims 2-12 all depend on Claim 1.

                  a.      The PTO is told about a supportive monkey study.

          122.    In support of the claim that a 24-day regimen reduced breakthrough bleeding,

  Hodgen submitted minimal data from a study in ten monkeys.

          123.    Decades after the original Loestrin products were approved, Hodgen and other

  scientists at EVMS conducted a study in monkeys to determine whether administering Loestrin

  1/20 active tablets for longer than the recommended 21 days decreased the incidence of

  breakthrough bleeding.

          124.    In 1992, ten adult female Cynomolgus monkeys were divided into two groups.

  These monkeys experience menstrual cycles similar to women. The scientists took

  commercially available Loestrin 1/20 active tablets and ground them into a powder. They then

  “adjusted” the medication to fit the smaller body weight of the monkeys. Five monkeys received

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  an ultra-low dose oral contraceptive for 21 consecutive days, followed by seven non-treatment

  days. Five monkeys received an ultra-low dose oral contraceptive for 24 consecutive days,

  followed by four non-treatment days. Each group was treated for three cycles. The study

  ostensibly showed a decrease in the incidence of breakthrough bleeding in cycles 2 and 3 in

  monkeys in the 24-day treatment group.

           125.    Given the small number of monkeys in the study, the difference between a

  statistically significant results (p<0.05) and a not statistically significant result (p>0.05) is quite

  small. If a scientist had noticed breakthrough bleeding in additional monkeys in the 21-day

  treatment group, or missed breakthrough bleeding in monkeys in the 24-day treatment group, the

  study may not have shown that the 24-day treatment group had significantly less breakthrough

  bleeding than the 21-day treatment group.

                  b.      The PTO did not know about a failed study in women.

           126.   The PTO did not know that a human study – conducted by Hodgen – showed no

  statistically significant differences in bleeding between women taking the active tablets in

  Loestrin 1/20 for 25 days and women taking the active tablets in Loestrin 1/20 for 21 days.

           127.   Beginning on or around January 1993, scientists at the EVMS began the human

  study where women took Loestrin 1/20 active tablets for 25 consecutive days of the 28-day

  cycle.

           128.   In 1993, Loestrin 1/20 was commercially marketed by Parke-Davis of Morris

  Plains, NJ (the marketing arm of Warner Lambert).

           129.   In the study, thirty healthy females (ages 22 to 35) were randomized to one of two

  low dose oral contraceptive regimens. All patients were non-smokers on no hormonal

  medications and had regular menstrual cycles without breakthrough bleeding. The 15 patients in

  Group A received a monthly regimen of 25 consecutive Loestrin 1/20 tablets followed by three

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  placebo tablets. The 15 patients in Group B received a conventional regimen of 21 Loestrin 1/20

  tablets followed by 7 placebo tablets. Each group was treated for three months.

         130.    The study participants knew they were taking Loestrin 1/20 tablets. Those in

  Group A knew they were taking Loestrin 1/20 tablets for 25 consecutive days of the 28-day

  cycle. Participants were not obligated to keep the study design or methods confidential.

         131.    Each subject self-reported bleeding patterns in a daily calendar.

         132.    The scientists compared the two groups with respect to bleeding patterns. The

  scientists did not find any significant differences in the amount of breakthrough bleeding

  between the two groups.

         133.    The study’s results were described in an abstract submitted to the 43rd Annual

  Meeting of the Society for Gynecologic Investigation, held March 20-23, 1996 in Philadelphia,

  Pennsylvania. The authors were listed as L.M. Schenk, R.W. Whitcomb, G.D. Hodgen, and F.D.

  Anderson. The abstract disclosed that the study included 30 women participants who were

  taking Loestrin 1/20 active tablets for 25 days straight. The abstract was later published in the

  Journal of the Society for Gynecologic Investigation on or around March 20, 1996.

                 c.      The PTO focused on the amount of ethinyl estradiol in the prior art
                         and whether the invention decreased breakthrough bleeding.

         134.    On February 5, 1996, the patent examiner issued a Notice of Allowability for all

  claims. After two supplemental amendments to ostensibly correct mathematical errors, the ’394

  patent was issued in September 1996.

         135.    During examination, the patent examiner focused on two issues: (i) the amount of

  ethinyl estradiol and norethindrone acetate in oral contraceptives disclosed in the prior art; and

  (ii) whether the invention decreased breakthrough bleeding.

         136.    First, the examiner focused on whether the prior art included oral contraceptives


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  with similarly low amounts of ethinyl estradiol and noerethindrone acetate. The examiner

  observed that prior art (specifically, the Craft reference) disclosed a contraceptive regimen with

  50 µg of ethinyl estradiol and 3 mg of norethindrone acetate. The examiner also observed that

  another prior art reference (EPO 253,607) reference disclosed a contraceptive composition in

  which 15 µg of ethinyl estradiol are administered with progestin daily and a 24-day dosing

  regimen. The examiner initially concluded that Craft and the EPO references rendered all claims

  obvious.

         137.    In response, the applicants represented that commercially available oral

  contraceptive combination formulations contain at least 30 µg of ethinyl estradiol. (In truth,

  Loestrin 1/20, publicly available since the 1970s, contained 20 µg of ethinyl estradiol.) The

  applicants then reminded the examiner that their invention reduced the incidence of breakthrough

  bleeding:

                 [T]he claimed regimen leaves the patient with a total estrogen
                 exposure per annum which is well below the total annual dose of
                 estrogen in all other combination formulations commercially
                 available in this country. Those all contain at least 30 mcg EE
                 (Craft uses 50 mcg) and a regimen of 21 dosing day plus a 7-day
                 pill free interval. With the claimed method, although there are
                 more treatment days per year at say 20 mcg EE per day, the total
                 drug exposure on a yearly basis remains significantly below the
                 amount in an estrogen/progestin combination oral contraceptive
                 which contains 30 or more mcg EE daily. In contrast to Craft, the
                 present invention employs a lower estrogen dosage which does not
                 participate in this contraceptive efficacy but instead controls
                 unscheduled bleeding.

         138.    Second, after being redirected by the applicants, the examiner turned to whether

  the invention in fact unexpectedly reduced the included of breakthrough bleeding. The examiner

  again rejected the claims because the amount of ethinyl estradiol disclosed in the claims is

  similar to that disclosed in Craft, and because the applicants haven’t shown that it was



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  unexpected that decreasing the amount of ethinyl estradiol reduces the incidence of breakthrough

  bleeding:

                 The applicant’s remarks have been considered but are
                 unpersuasive. Claim 1 recited a possible dosage of 35 mcg of
                 estrogen which is only 15 mcg lower than the 50 mcg dosage
                 taught by Craft et al. It has not been demonstrated that a dosage
                 regimen different by only 15 mcg less of estrogen has unexpected
                 contraceptive and reduced breakthrough bleeding results.

         2.      Warner Chilcott, through its executives, knew the ’394 patent is invalid
                 and/or unenforceable.

         139.    By the time Warner Chilcott listed the ’394 patent in the Orange Book, Warner

  Chilcott knew that the ’394 patent was invalid and/or unenforceable.

                 a.         The ’394 patent is unenforceable.

         140.    The ’394 patent is unenforceable in light of the misrepresentations and omissions

  made to the PTO during the prosecution of the ’394 patent.

         141.    The applicant’s failure to disclose the failed human study was material. The

  human study showed that there was no reduction in the incidence of breakthrough bleeding

  associated with the claims of the ’394 patent. The ’394 patent would not have issued otherwise.

  Hodgen’s omission and misrepresentations were made with knowledge that they were false and

  misleading, and with the specific intent that the PTO rely on the monkey study and issue a

  patent. There is no other reasonable explanation for the failure to report a failed human study

  that the inventor personally conducted. The failed study was intentionally withheld because it

  undercut patentability.

         142.    Warner Chilcott knew that Hodgen’s unsuccessful study in women had not been

  disclosed to the PTO during prosecution of the ’394 patent.

         143.



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                         .

            144.    In 1993, while EVMS’s patent application was pending, Hodgen sent a letter

  proposing a “technology transfer agreement” with Parke Davis. Hodgen explained to Roger

  Boissonneault (then the Vice President of Female Health Care at Parke Davis, owned by Warner

  Lambert, and now Warner Chilcott’s CEO) why Hodgen believed that Parke Davis should pay

  EVMS for the “technology” used in the human subject study. Warner Chilcott’s CEO and

  President was thus aware of Hodgen’s human study, and presumably the negative results of that

  study, in 1993.

            145.                                                    an agreement between EVMS and

  Warner Lambert.                                                                               an

  assignment of EVMS’s interest in the patent application and any resulting patents to Warner

  Lambert. The assignment was dated October 2, 1994, over a year before the ’394 patent

  issued.33

            146.    Warner Lambert was acquired by Pfizer in 2000. Galen Holdings plc acquired the

  ’394 patent from Pfizer in March 2003 at the same time that it acquired the entire Loestrin

  franchise. In July 2004, Galen Holdings changed its name to Warner Chilcott.

            147.    The ’394 patent applicants made materials misrepresentations and omissions to

  the PTO. But for those omissions, the ’394 patent would not have issued. And Warner Chilcott

  and Boissonneault knew this at the time Warner Chilcott listed and then later enforced the ’394

  patent.




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          The assignment was not recorded until January 19, 2000.


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                 b.      The ’394 patent is obvious.

         148.    Separate and apart from whether the ’394 patent is unenforceable due to

  misrepresentations, the ’394 patent is invalid due to obviousness.

         149.    For the invention disclosed in the ’394 patent to be patentable, it must either (1)

  reflect an amount of ethinyl estradiol and/or norethindrone acetate that were not disclosed in the

  prior art or (2) actually provide a method for decreasing the incidence of breakthrough bleeding.

  These are the two issues the examiner focused on during prosecution.

         150.    If the reduction in breakthrough bleeding is not read as a limitation on the claims

  presented, then the only novel thing about the claimed invention is the amount of ethinyl

  estradiol and norethindrone acetate disclosed in the claims. But Loestrin 1/20 contains the

  specific estrogen and progestin compounds recited in the claims of the ’394 patent, in the

  claimed amounts and in the claimed weight ratios.

         151.    The difference between Loestrin 1/20 and the purported “invention” is that the

  ’394 patent contemplates taking the active tablets in Loestrin 1/20 for 23 to 25 days (instead of

  21 days). But the prior art taught combination oral contraceptives that were given for more than

  21 days.

         152.    Warner Chilcott knew that its own Loestrin 1/20 (commercially available since

  the late 1970s) contained an amount of ethinyl estradiol and norethindrone acetate that fell within

  the range of value described in the claims of the ’394 patent. Warner Chilcott also knew that

  Loestrin 1/20 had been commercially available since the late 1970s.

         153.    Warner Chilcott knew that prior art taught giving oral contraceptives for longer

  than 24 days well before Hodgen’s applied for the ’394 patent.




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         154.     Based on the prior art, including the references cited by the examiner, it was

  obvious to administer active tablets containing low amounts of estrogen and progestin for more

  than 21 days.

         155.     The prior art teaches that a seven day tablet-free period leads to follicular

  development, which can lead to pregnancy. The prior art proposes to provide improved

  suppression of follicular development by using a 24-day regime of active tablets in oral

  contraceptive products while incrementally increasing the progestin.

         156.     The prior art teaches that a seven day tablet-free interval may be associated not

  only with diminished contraceptive efficacy, but also symptoms of estrogen withdrawal such as

  migraine headaches.

         157.     The prior art teaches that the incidence of breakthrough bleeding might,

  theoretically, be reduced by giving an additional combination tablet in each cycle.

         158.     There are examples in the prior art of other 24 day regimes that are safe and

  effective. One of ordinary skill would thus have expected that administering a combination of

  estrogen and progestin for 23-25 days, or specifically for 24 days, would be safe and effective.

         159.     The prior art suggests that the seven day tablet-free interval could be shortened to

  achieve additional benefits, such as reduced risk of follicular development, improved

  contraceptive efficacy, (theoretically) reduced breakthrough bleeding, and relief from certain

  symptoms of estrogen withdrawal such as migraine headaches. One skilled in the art would be

  motivated to reduce the number of tablet-free days by administering additional active tablets.

                  c.     Warner Chilcott knew that Loestrin 24 does not decrease the
                         incidence of breakthrough bleeding.

         160.     To the extent that a reduction in the incidence of breakthrough bleeding is read as

  a claim limitation, the ’394 patent fares no better.


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         161.    First, Hodgen’s human study reflects no statistically significant reduction in the

  rates of breakthrough bleeding.

         162.    Second, the FDA concluded that Loestrin 24, the commercial embodiment of the

  ’394 patent, did not actually reduce the incidence of breakthrough bleeding.

         163.    In January 2005, Boissonneault became CEO and President of Warner Chilcott.

         164.    Warner Chilcott submitted the NDA for Loestrin to the FDA in April 2005.

         165.    After reviewing the data from the Loestrin 24 investigational new drug study

  (“IND”), the FDA concluded that, “for the most part, there were not statistically significant or

  clinically meaningful differences across the 2 treatment groups in term of any parameters of

  bleeding that were examined.” The FDA noted that “the findings of Study PR-0393 do not

  support the Applicant’s hypothesis that 3 additional days of active treatment (i.e., extending the

  active treatment period from 21 days to 24 days during each 28 day cycle) would reduce the

  incidence of intracyclic bleeding.”

         166.    The FDA observed that there was a trend toward a greater percentage of subjects

  in the Loestrin 24 group not having monthly withdrawal bleeding. (Again, withdrawal bleeding

  is distinct from intracyclic/breakthrough bleeding or spotting.)

         167.    The FDA noted that even though the data had not shown that Loestrin 24 had a

  lower incidence of breakthrough bleeding than Loestrin 1/20, the drug should nonetheless be

  eligible for approval if it was both safe and effective for the prevention of pregnancy.

         168.    On February 17, 2006, the FDA approved Loestrin 24 as a method of

  contraception in women.

         169.    The FDA warned Warner Chilcott that it could not conclude that Loestrin 24 was

  superior to Loestrin 1/20, and that the label could not include any comparative claims.



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  C.          Warner Chilcott files sham litigation against generics to delay generic entry.

              1.      Warner Chilcott sues Watson for allegedly infringing the ’394 patent.

              170.    Because the ’394 patent claims only a narrow method (i.e., three extra days of

  tablets) of using active ingredients that have been employed for decades as oral contraceptives,

  generic manufacturers were eager to apply for FDA approval to market generic versions of

  Loestrin 24 long before the expiration of the ’394 patent. The generic manufacturers believed

  that they could obtain a court ruling that the ’394 patent was either invalid and unenforceable or

  not infringed by their products.

              171.    On or about June 19, 2006, Watson notified Warner Chilcott that Watson had

  filed ANDA 78267 in order to market a generic version of Loestrin 24. Watson’s notice letter

  included a paragraph IV certification that the commercial manufacture, use and/or sale of its

  generic Loestrin 24 product would not infringe any valid claim of the ’394 patent.

              172.    On July 28, 2006, Warner Chilcott sued Watson in the United States District

  Court for the District of New Jersey,34 alleging that Watson’s generic Loestrin 24 product would

  infringe the ’394 patent. Warner Chilcott sued in order to delay generic competition for as long

  as possible. Simply by filing the case, Warner Chilcott prevented Watson from obtaining FDA

  approval to market generic Loestrin 24 for at least two-and-a-half years – regardless of whether

  Warner Chilcott’s case had any merit. The 30-month stay would expire on December 19, 2008.

              173.    During the litigation, Watson challenged the validity and enforceability of the

  ’394 patent, as well as Warner Chilcott’s infringement allegations. Watson conducted discovery

  supporting a host of defenses focusing on: (i) the enforceability of the ’394 patent; (ii) the

  validity of the ’394 patent; and (iii) the weakness of Warner Chilcott’s infringement allegations.



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            Warner Chilcott Co. v. Watson Pharms., Inc., No. 06-cv-3491 (D.N.J.).


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          174.     On January 23, 2008, Watson filed an amended answer and counterclaim.35

          175.     Watson argued invalidity and noninfringement. Watson asserted that the claims

  of the ’394 patent were invalid under one or more of 35 U.S.C. § 102 (novelty; prior art), § 103

  (obviousness), and § 112 (specification; written description).

          176.     Watson alleged that the ’394 patent was unenforceable in view of equitable

  doctrines, including inequitable conduct, common law fraud, and unclean hands. Watson alleged

  that the applicants for the ’394 patent, including the inventor, counsel, and others substantially

  involved in its prosecution, breached their duty of good faith and candor to the PTO (37 C.F.R. §

  1.56 and common law) by intentionally misrepresenting material facts, failing to disclose

  material information, and submitting false information to the PTO with the intent to deceive.

          177.     Watson alleged the following:

                   a. All claims of the ’394 patent are unenforceable due to inequitable conduct.

                        i.    The applicants intentionally concealed from the PTO a public use of the
                              claimed invention that occurred more than one year before the filing
                              date.

                       ii.    The applicants intentionally made false statements to and withheld
                              material information from the PTO concerning the amount of estrogen in
                              prior art oral contraceptives.

                              1. The applicants knew that prior art oral contraceptives contained 20
                                 µg of ethinyl estradiol but stated to the PTO that all commercial U.S.
                                 oral contraceptives contained at least 30 µg of ethinyl estradiol.

                              2. The applicants knew that prior oral contraceptives exposed women
                                 to as little as 5.5 mg estrogen but stated to the PTO that their claimed
                                 regimen of up to twice as much estrogen exposed women to less.

                       iii.   The applicants intentionally withheld prior art teaching an extended
                              regimen of oral contraceptives (more than 21 days) for purportedly
                              enhanced efficacy, including the Molloy reference.

      35
         The FDA’s medical review of the Loestrin 24 NDA was not available to Watson at the time. The approval
  package was not posted online until March 24, 2008.


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          181.    Warner Chilcott faced a substantial battle. Watson was attacking the only patent

  providing any coverage for Loestrin 24 – a then $200 million-a-year drug – on three separate

  fronts: invalidity, unenforceability, and non-infringement. Discovery had revealed that Warner

  Chilcott – via its CEO – had learned about the unsuccessful EVMS study in women back in

  1993. The FDA’s newly-released medical review for Loestrin 24 confirmed that, on the basis of

  the data Warner Chilcott provided to the FDA, Loestrin 24 did not significantly reduce the

  incidence of breakthrough bleeding. Hodgen’s misrepresentations and omissions ensured that

  Warner Chilcott could not enforce the ’394 patent even if it was infringed. And prior art,

  including Loestrin 1/20, rendered the patent obvious.

          182.    For the reasons Watson alleged, and in light of the defects in the ’394 patent

  described elsewhere in this complaint, Warner Chilcott would have lost the patent infringement

  suit if it had been litigated to conclusion. So Warner Chilcott decided to pay Watson to settle the

  patent litigation.

          2.      Warner Chilcott and Watson enter into a reverse payment settlement
                  agreement.

          183.    Having stayed FDA approval of Watson’s generic Loestrin 24 application by

  filing the patent infringement claim against Watson, Warner Chilcott decided to terminate the

  case just as the 30-month stay was set to expire on or about January 2009.

          184.    On January 15, 2009, Warner Chilcott and Watson filed a stipulation of dismissal.

  The parties settled before they briefed, and before the Court finally decided, the substantive

  issues of invalidity, unenforceability, and infringement.

          185.    As the Supreme Court explained in Actavis, a brand and generic company can

  settle without reverse payments by simply agreeing on an entry date, one that reflects the

  underlying strengths or weakness of the patent suit. Here, given that Warner Chilcott’s suit was


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  objectively baseless, any settlement would have yielded an entry date much earlier than the

  delayed date purchased by Warner Chilcott in the reverse payment agreement being challenged

  here.

            186.   Warner Chilcott opted not for a procompetitive agreement with Watson but

  instead entered into an anticompetitive agreement where Warner Chilcott unlawfully paid

  Watson to withdraw its challenges to the validity and enforceability of the ’394 patent and delay

  its introduction of generic Loestrin 24 until just six months before the expiration of the ’394

  patent.

            187.   On or about January 12, 2009, Warner Chilcott and Watson entered into a reverse

  payment settlement agreement (the “Watson agreement”). Pursuant to that agreement, Warner

  Chilcott ended its ’394 patent litigation against Watson, and Watson dropped its counterclaims

  against Warner Chilcott. At the time of the unlawful agreement, the court hearing the patent case

  had not issued any substantive rulings regarding the merits of the claims.

            188.   Under the Watson agreement, Watson agreed to delay launching its generic

  Loestrin 24 product until the earliest of: (i) January 22, 2014; (ii) 180 days before a date on

  which Warner Chilcott grants rights to a third party to market a generic version of Loestrin 24 in

  the United States; or (iii) the date on which another generic version of Loestrin 24 enters the

  market.

            189.   As the quid pro quo for Watson’s agreement to drop its challenge to the ’394

  patent and to delay marketing its generic Loestrin 24, Warner Chilcott agreed to pay Watson

  substantial sums, in several forms, as set forth herein.

            190.   All of these payments had substantial value to Watson, and Watson could not

  have obtained any of these payments even if it had won the patent litigation against Warner



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  Chilcott.

         191.    Warner Chilcott made these payments in exchange for Watson’s agreement to

  delay generic competition to Loestrin 24 for more than four years (or earlier under certain

  circumstances). Absent Watson’s agreement to delay entry into the market with generic Loestrin

  24, Warner Chilcott would not have agreed to make these payments.

         192.    These payments far exceed the costs of continuing to litigate the settled patent

  infringement litigation. Well established literature concludes that litigation of a patent

  infringement suit of this nature, from complaint to verdict, costs between $6 million and $10

  million. Warner Chilcott’s future expected litigation costs at the time of the settlement with

  Watson were much less than that because, among other reasons, the patent case had been

  pending for years.

                 a.      The no-AG agreement.

         193.    The principal component of the Watson agreement was Warner Chilcott’s

  promise not to market, supply or license an authorized generic version of Loestrin 24 during

  Watson’s first 180 days of marketing its generic. Absent the Watson agreement, Warner Chilcott

  had the incentive and ability to launch an authorized generic version of Loestrin 24 upon entry of

  a competing generic version of Loestrin 24, and would have done so. Indeed, Warner Chilcott

  has marketed authorized generic versions of several of its other branded drugs, including its oral

  contraceptive, Dovonex. Avoiding competition from an authorized generic was a huge financial

  benefit to Watson.

         194.    Calculating the size of the payment represented by Warner Chilcott’s promise not

  to launch an authorized generic (the no-AG promise or agreement) for at least six months after

  Watson's own delayed generic entry in January 2014 involves simple arithmetic using readily

  available inputs. The calculation is performed by comparing the dollar sales Watson would have

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  expected to obtain when forced to compete against Warner Chilcott’s authorized generic, against

  the dollar sales Watson would have expected to get when free from Warner Chilcott’s authorized

  generic because Warner Chilcott promised not to launch its authorized generic for six months.

  The difference is Warner Chilcott’s payment to Watson from the no-AG promise. The price and

  unit effects of generic competition and authorized generics have been extensively studied by

  academics and the FTC,36 and so a reasonably approximate calculation may be made from

  publicly available data even before discovery.

           195.    The generic substitution rate during the first six months of generic competition

  (that is, the percentage of brand sales that would switch to the generic in the first six months after

  the generic becomes available) is about 78% (taking the mean between 72% and 85%). The

  generic price discount (i.e., the percentage below the pre-generic-entry brand price at which the

  generic sells) during the first six months after generic entry is at least 10% (although it can be

  higher), when there is just one generic available. According to a study sponsored by PhRMA,

  the brand drug company trade group, generic prices are an additional 16% lower when an

  authorized generic is available alongside the first filer, compared with when an authorized

  generic is absent. According to a study performed by the FTC, an authorized generic takes

  approximately 50% of unit sales from the first generic during the first six months. Using these

  basic numbers – 78% generic substitution within six months, the 10% price discount with one

  generic and 26% discount with two, and an authorized generic taking 50% of unit generic sales –

  the no AG payment to Watson can be plausibly calculated using simple arithmetic.

           196.    To estimate Watson’s revenues from selling generic Loestrin 24 during the first

  six months of generic competition without competition from Warner Chilcott’s AG, one starts


     36
          See FTC Pay-for-Delay Study; FTC 2011 AG Study.


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  with Loestrin 24’s annual (i.e., 12-month) branded sales and divides by two to get its sales for six

  months. As of the time of defendants’ agreement, Loestrin 24 was a $200 million-a-year drug.

  Half of that (six months) is $100 million. Though sales were growing and, as a result, sales

  when Watson launched in 2014 would be expected to be significantly larger, we will use 2009

  sales to develop a minimum estimate. Using a conservative 78% generic substitution rate, and a

  conservative 10% price discount, Watson would expect to earn approximately $70.2 million in

  generic sales in six months freed from competition from an authorized generic.

         197.    To estimate Watson’s expected revenues from selling generic Loestrin 24 during

  the first six months with competition from an AG, one starts again with $100 million in branded

  Loestrin 24 sales for six months, and the same generic substitution rate, but a generic price

  discount of 26% (to account for the price effect of the authorized generic) rather than 10%. This

  means total generic sales (Watson’s plus an AG) would be expected to be $57.72 million over

  the first six months of generic competition, because of the price-decreasing effect of an AG.

  Watson would get just half of those sales (because it would split unit sales with the AG, 50/50),

  so Watson would earn just $28.86 million.

         198.    Thus, the difference between Watson’s generic Loestrin 24 sales over the first six

  months of generic competition under a no AG promise ($70.2 million) compared with an AG

  ($28.86 million) is $41.34 million. This is the estimated minimum payment Watson expected

  from Warner Chilcott from just Warner Chilcott’s no-AG promise (made without benefit of

  discovery and using conservative assumptions).

         199.    Even using the conservative $41.34 million estimate, the no-AG payment is far

  more than average total patent litigation costs for a Hatch-Waxman patent case, to say nothing of

  the costs remaining in the patent litigation here. A recent survey by the Association of



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  Intellectual Property Lawyers of America estimated that the median total cost of patent

  infringement litigation associated with ANDA filings under the Hatch-Waxman Act was just $6

  million.37 Warner Chilcott and Watson reached their no-AG deal more than two years into their

  patent litigation. Warner Chilcott instituted suit in July of 2006 and the settlement agreement

  challenged in this case was reached in January of 2009. The litigation costs Warner Chilcott

  avoided are likely significantly lower than $6 million. But even using the $6 million figure, and

  even using the $41.34 million estimate for the minimum size of the no-AG payment, the no-AG

  payment here was approximately seven times Warner Chilcott’s avoided litigation costs, and so

  is plainly a large payment under Actavis.38

             200.    The defendants here undoubtedly studied and calculated the effects of generic

  competition for Loestrin 24, both on the brand’s sales and the price of the drug, and the effect of

  the presence or absence of an authorized generic. The 2011 FTC AG Study, for example,

  obtained data from numerous brand and generic drug companies (including Warner Chilcott and

  Watson) about the effects of authorized generics.39 The AG Study confirmed that, as a matter of

  standard business practice, both brand and generic companies calculate the financial effects of

  the presence or absence of an authorized generic. For brand name companies, the AG Study

  concluded:

                     The brand-name firms’ keen interest in the revenues arising from
                     AGs and their intense concern with any impact of the AG on
                     branded sales are reflected in their extensive forecasting and sales
                     analysis documents. Virtually every brand-name company in the

      37
         American Intellectual Property Lawyers Association, 2013 Report of the Economic Survey, at 34 (2013).
  This figure represents branded drugs with sales “at risk” of at least $25 million; for less valuable branded drugs, the
  median litigation costs were less than $6 million.
      38
        See 133 S. Ct. at 2236 (explaining that defendants may be able to defend a reverse payment by showing that it
  “may amount to no more than a rough approximation of the litigation expenses saved through the settlement” and
  was made to avoid those costs).
      39
           FTC 2011 AG Study at ii, 7-8 & app. C.


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                     study that had marketed an AG produced multiple forecasts and
                     revenue analyses in response to the FTC Special Orders. The
                     forecasts were incorporated into different phases of company
                     decision making, including decisions to market an AG, select an
                     external distributor, determine launch timing, and project how
                     much to manufacture. After launch of an AG, companies closely
                     monitored actual revenues, price, and market share to facilitate
                     adjustments based on market conditions.40

            201.     Similarly, documents produced by the generic companies:

                     . . . confirm that the introduction of an AG during the exclusivity
                     period substantially erodes the expected profitability of the ANDA
                     . . . . In fact, various sales and pre-launch forecasts indicate that
                     generic firms routinely assume the presence of an AG, and weave
                     that consideration, along with assumptions about market size,
                     substitution rates, price erosion, and the likely number of
                     competitors, into their projections of sales and profitability of the
                     ANDA-generic drug during the exclusivity period and beyond.41

            202.     Thus, discovery here is very likely to reveal similar internal analyses by

  defendants themselves examining the financial effects of the presence or absence of an

  authorized generic version of Loestrin 24. Such internal analyses can then be used to further

  refine the quantification of the no-AG payment here.

                     b.        Warner Chilcott protects Watson’s purported exclusivity from
                               additional generic competition.

            203.     In addition to the no-AG promise, Warner Chilcott agreed not to grant a license to

  any other manufacturer to produce a generic version of Loestrin 24 – whether under Warner

  Chilcott’s NDA or under any ANDA – until at least 180 days after Watson entered the market,

  thus functionally recreating the 180-day exclusivity Watson had lost. Warner Chilcott thus

  guaranteed to Watson a period of 180 days of exclusivity as the only generic Loestrin 24 on the

  market (absent another generic manufacturer entering following a 30-month stay of FDA


     40
          Id. at 68 (footnote omitted).
     41
          Id. at 81-82 (footnote omitted).


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  approval or obtaining a court order permitting such entry). Because Watson forfeited its

  entitlement to the 180-day exclusivity period under the Hatch-Waxman Act by failing to obtain

  tentative FDA approval to market generic Loestrin 24 within 30 months of submitting its ANDA

  in April 2006, the contractual exclusivity granted by Warner Chilcott had substantial value to

  Watson and precluded generic competition at the expense of the direct purchaser class plaintiffs

  and other class members.

            204.     In a February 19, 2013 earnings call, Paul Bisaro, Watson/Actavis’s CEO,

  President, and Director, represented that Watson retained 180-day exclusivity on Loestrin 24.

  Because the FDA had determined that Watson was not entitled to the statutory exclusivity period

  under the Hatch-Waxman Act, Bisaro could only have been referring to exclusivity resulting

  from Watson’s agreement with Warner Chilcott.

                     c.       Side deals disguise substantial additional payment.

            205.     In addition to the no-AG agreement and Warner Chilcott’s promise not to grant a

  license to any other generic manufacturer during Watson’s de facto 180-day exclusivity period,

  the Watson agreement also provided substantial additional compensation in the form of two side

  deals announced contemporaneously with the settlement of the patent litigation relating to

  Loestrin 24. These side deals include: (i) a transfer to Watson of exclusive rights to market and

  sell a new conceptive product called Generess Fe42 (the “Generess deal”), memorialized through

  a patent license agreement and finished product supply agreement, each of which was on terms

  highly advantageous to Watson, and (ii) a co-promotion agreement relating to Warner Chilcott’s

  contraceptive product Femring (the “Femring deal”).

            206.     Due to their nature and timing, the side deals were part and parcel of the Watson


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          As with Loestrin, the “Fe” is regularly dropped.


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  agreement and provided Watson with substantial additional compensation for agreeing to delay

  market entry. Indeed, these types of deals between brand and generic companies, consummated

  at the same time as settlement of seemingly unrelated patent litigation provide a means to confer

  payment under the guise of an independent business arrangement. Such deals between brand and

  generic companies are rarely seen outside of the reverse payment settlement context because

  generic firms are not obvious and efficient alternative suppliers for a brand company due to their

  smaller promotional teams and limited research and development and manufacturing capabilities.

  Thus these side deals are merely cover for a brand’s purchase of additional freedom from

  competition. The deals at issue here are no exception.

                         (1)    The Generess deal.

         207.    Through the Generess deal, Warner Chilcott effectively relinquished the rights to

  its chewable oral contraceptive Generess for a modest supply price and limited royalty payment

  structure. Watson is now the NDA holder for Generess, a product developed by Warner

  Chilcott. This transfer of value from Warner Chilcott to Watson has no rational explanation

  other than to provide additional compensation to Watson for delaying its generic Loestrin 24.

         208.                        deal, Watson was granted an exclusive license to

                                                                      Generess Fe




         . Watson was responsible for the commercialization of Generess Fe (e.g., sales,

  marketing, distribution).

         209.    The Generess deal provided that Warner Chilcott would be responsible for




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         210.    Under the terms of the Generess deal, Watson got to keep



                                                               .

         211.    The Generess deal provided compensation to Watson that was well in excess of

  the fair value of the costs and services undertaken by it pursuant to the deal. The deal effectively

  provided payment to Watson in the form of the right to retain                              as

  partial exchange for its agreement to delay generic entry for Loestrin 24. The economic terms of

  the Generess deal do not reflect those of an arm’s length, stand-alone transaction between two

  parties in the position of these companies, but instead substantially are weighed in favor of

  Watson to provide additional consideration for its agreement to drop the Loestrin 24 patent

  challenge.

         212.    Generess has generated significant sales since its launch in April 2011. According

  to the most recent data from IMS National Sales Perspectives (“NSP”) (a recognized and

  standard source of data on pharmaceutical prescriptions, sales, and prices), from the time it was

  launched until generic entry in April 2015, Generess generated sales of over $268 million. Sales

  after generic entry through February 2016 are nearly $17 million. Total sales attributable to

  Generess from its launch in April 2011 through February 2016 have been in excess of $285

  million.

         213.    Both Warner Chilcott and Watson expected Watson to

                                                and Watson has in fact



                         (2)    The Femring deal.

         214.    The Femring deal provided substantial additional compensation to Watson for

  agreeing to delay generic entry. Pursuant to that agreement, Warner Chilcott,

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  Watson an exclusive license to market and sell Generess; (iv) guarantee Watson 180 days of

  exclusivity, which it had otherwise forfeited, to market a generic version of Loestrin 24; and/or

  (v) grant the price and/or other terms that it did under those provisions of the Watson agreement.

          218.    To avoid competition, maintain its monopoly in the Loestrin 24 market and

  continue to reap monopoly profits, Warner Chilcott agreed to pay Watson what amounts to tens

  of millions of dollars. The large payment from Warner Chilcott to Watson had no justification

  other than to keep Watson’s AB-rated generic version of Loestrin 24 off the market for nearly

  five years. These payments far exceed Warner Chilcott’s costs of continuing to litigate the

  settled patent infringement litigation.

          3.      Warner Chilcott sues, and then settles with, Lupin.

          219.    As the first filer, Watson had an opportunity to earn 180 days of exclusivity under

  the Hatch-Waxman amendments. At the time Watson filed its ANDA, of course, subsequent

  ANDA filers could not have predicted that Watson would ultimately forfeit its 180-day

  exclusivity. If Watson had obtained an order finding the ’394 patent invalid or unenforceable,

  other generic manufacturers would have benefitted from that ruling without having to incur

  patent litigation costs.

          220.    On or about July 30, 2009, six months after the announcement of the agreement

  between Warner Chilcott and Watson, Lupin Pharmaceutical, Inc., and/or Lupin Ltd. (“Lupin”)

  notified Warner Chilcott that it had filed ANDA 91398 for the purpose of marketing generic

  versions of Loestrin 24. Lupin’s notice letter included a paragraph IV certification that the

  commercial manufacture, use and/or sale of its generic product would not infringe any valid and

  enforceable claim of the ’394 patent.

          221.    On or about September 9, 2009, Warner Chilcott sued Lupin for alleged



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         228.     The Lupin agreement granted Lupin a non-exclusive license covering Femcon Fe,

  another branded oral contraceptive manufactured by Warner Chilcott, which permitted Lupin to

  begin marketing an authorized generic version of Femcon Fe, supplied by Warner Chilcott, in the

  United States beginning on the earlier of (i) 180 days after Teva Pharmaceutical Industries, Ltd

  (the first filer with respect to Femcon Fe) entered the market with a generic equivalent to

  Femcon Fe, or (ii) January 1, 2013. Pursuant to the Lupin agreement, Lupin in fact entered the

  market with generic Femcon Fe in October 2011, and since that time has made substantial sales

  of that product. But for the Lupin agreement, Lupin could not have begun making generic

  Femcon Fe sales until the end of the 30-month stay in February 2012.

         229.     The Lupin agreement also gave Lupin the contingent right to purchase and sell in

  the United States a generic version of Asacol 400 mg (a branded treatment for inflammatory

  bowel disease), to be supplied by Warner Chilcott, if a generic version of Asacol 400 mg is

  launched by another generic manufacturer in the United States.

         230.

                         .

         231.     Warner Chilcott’s settlement with Lupin delayed market entry of generic Loestrin

  24 and ensured that Watson would have 180 days of de facto exclusivity upon its launch of

  generic Loestrin 24.

         232.     Warner Chilcott and Lupin continue to adhere to the Lupin agreement.

         233.     On October 28, 2015, the FDA approved Lupin’s ANDA 091398 for generic

  Loestrin 24 Fe. Lupin launched its generic Loestrin 24 Fe product under the name Blisovi 24 Fe

  in late 2015.

         4.       Warner Chilcott sues, and then settles with, Mylan.

         234.     On or about April 20, 2011, six months after the announcement of the agreement

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  bleeding.” Mylan took the position that this phrase was a claim limitation meaning that an

  invention must actually reduce the incidence of breakthrough bleeding to be covered by the ʼ394

  patent. Warner Chilcott – given the FDA’s definitive conclusions – could not argue that Loestrin

  24 actually reduced the incidence of breakthrough bleeding with a straight face. So Warner

  Chilcott took the position that this phrase was not a claim limitation.

         240.    The court’s choice of claim construction would have no impact on the ultimate

  outcome of the litigation. Either way, Warner Chilcott would lose. If the court chose Mylan’s

  construction, the ʼ394 patent would not cover Loestrin 24; Warner Chilcott would stand no

  realistic chance of prevailing in proving that Mylan’s product infringed a valid patent covering

  Loestrin 24. If the Court chose Warner Chilcott’s construction, the day of reckoning would have

  been postponed, but the patent would have been ultimately held invalid as obvious. Without the

  feature of reducing breakthrough bleeding, the only remaining features of the invention were the

  amounts of hormones given (disclosed in Loestrin 1/20), the ratios of the hormones given

  (disclosed in Loestrin 1/20), and the longer-than-21-day period of administration (disclosed in

  multiple pieces of prior art).

         241.    On April 8, 2013, the Mylan court issued a claim construction decision, adopting

  Warner Chilcott’s position.

         242.    On July 24, 2013, Mylan submitted a pretrial brief.

         243.    To continue to prevent generic entry by enforcing the ’394 patent, Warner

  Chilcott would have had to defeat each of Mylan’s arguments regarding invalidity and

  unenforceability and prove that Mylan infringed the ’394 patent. Warner Chilcott instead

  decided to protect its monopoly by entering an agreement with Mylan under which Mylan agreed

  to withdraw its challenges to the validity and enforceability of the ’394 patent and delay its



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  introduction of generic Loestrin 24.

         244.    Had Mylan obtained a final judgment invalidating the ’394 patent, it would have

  caused the entry into the market of generic Loestrin 24 delayed by the Watson agreement.

  Instead, to make sure this did not happen, and to ensure that Watson could retain 180 days of

  market exclusivity, Warner Chilcott entered a settlement and license agreement with Mylan, the

  third ANDA filer for Loestrin 24, to drop its patent challenge and stay out of the market until

  after Watson was permitted to enter the market pursuant to the Watson agreement.

         245.    On or about July 29, 2013, just weeks before a bench trial was scheduled to

  commence, Warner Chilcott entered into a non-competition agreement (in the form of a

  settlement and license agreement) with Mylan and the case was subsequently dismissed.

  Pursuant to the Warner Chilcott and Mylan agreement, Mylan agreed to drop its challenge to the

  ’394 patent and to delay entry of its generic version of Loestrin 24 until July 22, 2014, the month

  that the ’394 patent expired.

         246.    Warner Chilcott entered the agreement with Mylan for delayed market entry of

  generic Loestrin 24 to ensure that Watson would have 180 days of exclusivity upon its launch of

  generic Loestrin 24 – as Warner Chilcott and Watson agreed to do in the Watson agreement.

         247.    Warner Chilcott and Mylan continue to adhere to their agreement.

         248.    On October 30, 2014, the FDA approved Mylan’s ANDA 202742 for generic

  Loestrin 24 Fe. Mylan launched its generic Loestrin 24 product on the same day.

         249.    Warner Chilcott has delayed generic entry in order to extend and protect its

  Loestrin 24 monopoly as long as possible.

         5.      Other Loestrin 24 generics enter the market.

         250.    On May 20, 2013, Actavis announced that it was acquiring Warner Chilcott.

         251.    On October 10, 2013, Actavis completed its acquisition of Warner Chilcott. As

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  part of Actavis’s acquisition of Warner Chilcott, on September 27, 2013, Actavis entered into

  Consent Orders with the FTC that required Actavis to divest four pharmaceutical products

  including Loestrin 24 and its generic equivalents.

         252.    On September 30, 2013, Amneal Pharmaceuticals, LLC (“Amneal”) announced

  that it had entered into a deal with Actavis to acquire the four pharmaceutical products including

  Loestrin 24. Amneal acquired Watson’s right to launch its generic Loestrin 24 pursuant to the

  Watson agreement. On November 8, 2013, Amneal announced that it would launch Loestrin 24

  under the name Lomedia 24 Fe, and on or about January 6, 2014, Amneal began selling Lomedia

  24 Fe. Lomedia 24 Fe is still manufactured by Watson and is labeled and distributed by Amneal.

         253.    As a result of the no-AG agreement that Warner Chilcott had entered into with

  Watson, when Amneal (as successor to Watson) launched generic Loestrin 24 in January 6,

  2014, it faced no price competition from an AG. As a result, generic prices were predictably

  higher than they otherwise would have been. Thus, as a direct and foreseeable result of the

  defendants’ conduct to delay additional generic competition, plaintiffs suffered overcharges on

  their purchases of Amneal’s generic Loestrin 24 (manufactured by Watson).

         254.    On December 1, 2014, the FDA approved two ANDAs for generic Loestrin 24

  Fe: ANDA 090293, submitted by Qualitest Pharmaceuticals, a subsidiary of Endo International

  plc (“Qualitest”), and ANDA 090938, submitted by Barr Pharmaceuticals, Inc., a division of

  Teva Pharmaceutical Industries, Ltd. (“Teva”). Qualitest launched its generic Loestrin 24 Fe

  product under the name Gildess 24 Fe on or about January 22, 2015. Teva launched its generic

  Loestrin 24 Fe product under the name Junel Fe 24 on or about June 8, 2015.

         255.    On February 18, 2015, the FDA approved ANDA 202994 for generic Loestrin 24

  Fe submitted by Novast Laboratories Ltd. Novast launched its generic Loestrin 24 Fe product



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  under the name Larin 24 Fe on or about June 12, 2015.

  D.     Warner Chilcott’s agreements with Watson, Lupin, and Mylan require continuing
         performance in order to inflict continuing overcharges on direct purchasers.

         256.    The anticompetitive effects of the reverse payment settlement agreement between

  Warner Chilcott and Watson stem not merely from the execution of the agreements but also from

  the continued performance of those agreements over the past four years. For the defendants’

  anticompetitive agreement to be effective, each must each actually take steps to abide by the

  agreements. That ongoing performance and conduct includes, but is not limited to the following:

                 a.     Warner Chilcott must actually pay Watson according to the terms of the
                        Watson agreement;

                 b.     Warner Chilcott must prosecute and delay later ANDA filers’ attempts to
                        launch a generic version of Loestrin 24;

                 c.     Watson must actually stay off the market through January 22, 2014;

                 d.     Warner Chilcott has to cut deals to settle with, later generic filers
                        (including Lupin and Mylan) to protect the entry date Warner Chilcott and
                        Watson agreed to;

                 e.     Warner Chilcott and Watson must prevent a court ruling on the merits of
                        the ’394 patent; and

                 f.     Warner Chilcott’s continuing to overcharge direct purchasers for years
                        following the Watson agreement.

  E.     Warner Chilcott “hops” the market to Minastrin 24.

         1.      With the prospect of generic competition looming in 2014, Warner Chilcott

  implemented another aspect of its anticompetitive scheme. Before manufacturers of generic

  Loestrin 24 could begin marketing their products, Warner Chilcott reformulated Loestrin 24 into

  another product, Minastrin 24, with the purpose and effect of preventing generic Loestrin 24 from

  being substitutable for the “new” product at the pharmacy counter.

         257.    The “product hop” that Warner Chilcott implemented from Loestrin 24 to


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  Minastrin 24 had no safety or efficacy benefits for patients. The insignificant tweaks that

  Warner Chilcott made to Loestrin 24 ensured that generic Loestrin 24 would not be AB-rated to

  Minastrin 24 and therefore not substitutable for Minastrin 24 at the pharmacy counter.

  Pharmacists cannot fill a prescription for Minastrin 24 with generic Loestrin 24. Warner Chilcott

  made the insignificant modifications to Loestrin 24 for the sole purpose of impairing generic

  competition.

         1.      The FDA approves Minastrin 24 and Warner Chilcott pulls Loestrin 24 off
                 the market.

         258.    On July 9, 2012, Warner Chilcott submitted NDA 203667, for an oral

  contraceptive comprised of 24 active norethindrone acetate (1 mg)/ethinyl estradiol (20 mg)

  tablets and four inactive ferrous fumarate tablets, which it later sold under the brand name

  Minastrin 24 Fe. The FDA approved Minastrin 24 ten months later, on May 8, 2013.

         259.    Minastrin 24 is Loestrin 24 with two changes: First, in the FDA’s words, Warner

  Chilcott made “insignificant manufacturing changes” to the active tablets and added spearmint

  and a sweetener to the inactive pills (only). Second, Warner Chilcott’s proposed labeling

  referred to the pill as chewable and instructed women to chew and then swallow the pill.

         260.    There is no medical reason for women to take the inactive pills. Women regularly

  throw out the pack after they have taken the last active pill and do not take the inactive pills.

  Making the inactive pills more palatable conveys no benefit. In fact, the labeling for Loestrin 24

  refers to the inactive tablets as “reminder” pills. It instructs patients to “THROW AWAY” the

  reminder pills they missed if they forget to take one.

         261.    According to the FDA, the active pills in Loestrin 24 and Minastrin 24 are

  essentially identical. “The only difference in the tablet proposed in [the Minastrin] NDA are the

  markings;” “even though the identical tablets (except for debossing (Fn 1)) are used for this drug


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  product, the dosage form will be a chewable tablet instead of a tablet.”46 Warner Chilcott did

  not do anything to make the active Loestrin 24 pills palatable; it added no sweeteners or flavors

  to the active pills. Warner Chilcott simply changed the label to say that women could chew the

  pills.

             262.     According to the FDA:

                              The [Minastrin 24] drug product is a tablet that contains 1
                              mg NA and 0.020 mg (20 µ) EE. It is identified in this
                              NDA as WC3040-1F tablet. It is the same formulation as
                              Loestrin® 24 FE tablets, approved as an oral tablet in NDA
                              21-871. The only different in the tablets proposed in this
                              NDA are the markings.

             Elsewhere, the FDA states:

                              It should be noted that even though the identical tablets
                              (except for debossing47) are used in this drug product, the
                              dosage form will be a chewable tablet instead of a tablet.48

             The FDA also says:

                              With the exception of tablet debossing and insignificant
                              manufacturing changes, the to-be-marketed NA and EE
                              tablets are the same as the NA and EE tablets of Loestrin®
                              24 Fe.

             The FDA states:

                              The NA and EE tablets of the proposed product have the
                              same components, composition, doses, and dosing regimen
                              as the NA and EE tablets of Loestrin®24 Fe. The
                              difference between the new product WC3040 (also referred
                              to as WC3040-1F tablets) and approved Loestrin® 24 Fe is
                              the method of use. The NA and EE tablets in the new
                              product may be chewed and swallowed or swallowed



      46
           Emphasis in original.
      47
        A debossed marking is sunken into the surface of the material. The FDA states, “The chewable tablet will be
  debossed with ‘535’ and is referred to as formulation WC3040-1F by the sponsor.”
      48
           Emphasis in original.


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                           whole49 compared to the NA and EE tablets in the
                           Loestrin® 24 Fe product that are swallowed whole.

           According to the FDA:

                           [The Minastrin 24] ferrous fumarate (FF) tablets are non-
                           hormonal and do not serve a therapeutic purpose. The
                           inactive FF tablets contain a sweetener (one separate
                           component) and a flavoring (one separate component) as
                           part of the formulation. The WC3040-1F tablet contains no
                           sweetener or flavoring.

           263.    Minastrin 24 consists of the same components, composition, doses, and dosing

  regimen of Loestrin 24 Fe and is indicated for the same use. That is, both drug products are used

  only for the prevention of pregnancy, and both consist of 24 active white tablets (each containing

  1 mg norethindrone acetate and 20 µg ethinyl estradiol) as well as four brown placebo or

  “reminder” tablets (each containing 75 mg Fe fumarate). According to the FDA, “with the

  exception of tablet debossing and insignificant manufacturing changes, the proposed drug

  product [Minastrin 24] is identical to approved Loestrin 24 Fe.”

           264.    Warner Chilcott obtained FDA approval for Minastrin 24 by establishing

  bioequivalence to Loestrin 24. It conducted no new clinical studies to demonstrate that

  Minastrin 24 was any more safe or effective than Loestrin 24. Warner Chilcott relied on the

  previous Phase 3 study of Loestrin 24 tablets for the demonstration of safety and efficacy.

  Minastrin 24 thus has an identical side effect profile to Loestrin 24. Minastrin also does not

  result in any increased rate of patient compliance and is otherwise no better than Loestrin 24 in

  preventing pregnancy.

           265.    The notable yet minor difference between the two drug products is simply their



      49
        Some portions of the FDA’s review state that Minastrin 24 may be chewed and swallowed or swallowed. But
  Minastrin 24’s original labeling, proposed by Warner Chilcott, instructed patients and doctors that “The tablet
  should be chewed and swallowed.”


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  method of use. The original label for Minastrin 24 instructs that the tablets should be chewed

  and swallowed; compared to the label for Loestrin 24 that indicates the tablets are to be

  swallowed whole. Later, Warner Chilcott amended the Minastrin 24 label to say that the pills

  could be chewed or swallowed. This difference is clinically meaningless to patients. But

  because Minastrin 24 is considered a different formulation than Loestrin 24, it cannot be

  substituted at pharmacies for generic Loestrin 24.

          266.   Loestrin 24 patients by and large were neither in need of nor interested in a birth

  control pill that they can chew. For those women who preferred to chew their birth control pills,

  doctors had been advising them they could do so for years. And if making pills chewable were a

  meaningful benefit for a substantial number of women, Warner Chilcott could have

  supplemented or amended its Loestrin 24 NDA to reflect that the product was chewable.

          267.   Loestrin 24 tablets posed no difficulty in swallowing for women. Individuals who

  find it difficult to swallow tablets frequently cite size as the reason. Yet Loestrin 24, Minastrin

  24, and most other oral birth control products, are merely 6 mm in diameter – considered ideal

  for, and among the smallest of, all oral medications. The size of a tablet is typically not a source

  of complaint until the tablet becomes greater than 13 mm – more than double the size of Loestrin

  24. Suffice it to say, there was no need to reformulate Loestrin 24 into a chewable tablet based

  on its size.

          268.   Complaints about swallowing are associated more with children and the elderly –

  two patient populations who do not take oral contraceptives. Loestrin 24 and Minastrin 24 are

  not indicated for use before a female’s first menstrual period, nor are they indicated for use by

  the geriatric patient population.

          269.    Indeed, most patients prefer swallowing tablets to chewing tablets, with one



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  study showing the preferences at more than a nine to one margin. Patients complain that

  chewing tablets creates fragments that stick to the gums or mouth recesses and leaves some

  patients uncertain as to whether they in fact ingested all of the needed medicine.

         270.    Doctors had instructed patients who had difficulty swallowing oral contraceptives

  to chew their pills for years before Minastrin 24 was approved. Earlier chewable forms of oral

  contraceptives show no significant bioavailability/bioequivalence differences in the rate and

  extent of absorption of the active ingredients.

         271.    Warner Chilcott effectively forced consumers that had been using Loestrin 24 to

  switch to the chewable tablet.

         2.      Warner Chilcott forces patients to switch by withdrawing Loestrin 24 from
                 the market and cannibalizes Loestrin 24 sales.

         272.    Warner Chilcott launched Minastrin 24 on July 1, 2013 and immediately set its

  detail force to convincing doctors to switch their prescriptions from Loestrin 24 to Minastrin 24.

         273.    On or around August 2013, with generic entry for Loestrin 24 looming just

  months away, Warner Chilcott strategically withdrew Loestrin 24 from the market. Warner

  Chilcott offered no safety or efficacy concerns to justify discontinuing Loestrin 24. Warner

  Chilcott did not remove existing Loestrin 24 supplies from the market but instead ceased

  manufacturing and distributing Loestrin 24. Warner Chilcott used the announcement of the

  discontinuance of Loestrin 24 as a tactic to coerce doctors who otherwise would have continued

  to prescribe Loestrin 24 to switch to Minastrin 24.

         274.    Loestrin 24 and Minastrin 24 are not AB-rated and therefore are not substitutable

  for each other at the pharmacy counter. Thus, a prescription for Minastrin 24 cannot be filled

  with generic Loestrin 24.

         275.     Instead, Warner Chilcott insisted to pharmacies, doctors, and patients that


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  Minastrin 24 is the replacement to which patients should switch. This forced patients who had

  become stabilized on the 24-day regimen and who were tolerating it well to switch to Minastrin

  24.

         276.    Demonstrating that there is no difference between Loestrin 24 and Minastrin 24,

  other than the lack of an AB-rating, Warner Chilcott later changed the Minastrin 24 label to say

  that women could chew or swallow the pills. On June 6, 2014 – after Minastrin 24 was awarded

  a new formulation exclusivity based on the fact that it was chewable, six months after Warner

  Chilcott withdrew Loestrin 24 from the market, and the very same day Warner Chilcott sued

  Lupin over Minastrin 24 – Warner Chilcott changed its label to say that women could chew or

  swallow Minastrin 24 pills.

         277.    But for the defendants’ unlawful conduct, AB-rated generic versions of Loestrin

  24 would have entered the market long before entry of Minastrin 24, which would have resulted

  in most Loestrin 24 prescriptions having been converted to AB-rated generic versions of Loestrin

  24 long ago, and long before the switch to Minastin 24.

         278.    It is well known in the industry that, where a brand manufacturer successfully

  converts the market before the generics enter the market, the generics will make far fewer sales

  or no sales. Warner Chilcott knew that if it switched the market before generic entry in 2014, the

  generics would make very few sales because, by that time, Warner Chilcott would have all but

  eliminated the prescription base. Warner Chilcott’s product hop was designed to deprive the

  generics of the cost-efficient means of competing for sales.

         279.    After launching Minastrin 24 in July 2013, Warner Chilcott employed its army of

  sales force detailers to cannibalize Loestrin 24 prescriptions, i.e., to aggressively switch them to

  Minastrin 24. Warner Chilcott bolstered its detailers’ efforts by eliminating all promotion of



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  Loestrin 24. Warner Chilcott switched all of these promotional efforts to Minastrin 24 instead of

  Loestrin 24, which it had announced would be discontinued.

         280.    Data confirm that in the months after the launch of Minastrin 24 in July 2013,

  nearly 100% of Minastrin 24 sales came from patients who previously had been taking Loestrin

  24.

         281.    Warner Chilcott knew that if it switched the prescription base to Minastrin 24

  before January 2014, those prescriptions would not be switched back to Loestrin 24 even after

  generic versions of that product entered the market. Patients stay on a particular oral

  contraceptive for long periods of time. And oral contraceptive patients like to stay on a single

  drug once they find one that works. Patients prefer not to risk unnecessary symptoms or

  complications by switching drugs.

         282.    Warner Chilcott’s product hop caused enormous concern among women who had

  previously used Loestrin 24. Many patients were concerned and confused about why they now

  had to chew a product that they had previously swallowed. Only after succeeding in its scheme

  to impair generic competition did Warner Chilcott change the label for Minastrin 24 to say

  women could chew or swallow the pills.

         3.      Warner Chilcott’s motive in switching the market was to impair generic
                 competition.

         283.    The exclusionary motive and effect of Warner Chilcott’s product hop is

  confirmed by the fact that the hop made economic sense for Warner Chilcott only because it had

  the effect of impairing generic competition. Its decisions to incur the extra costs (and suffer the

  revenue losses) associated with the change in dosage form from Loestrin 24 to Minastrin 24 was

  economically rational only because the change had the exclusionary effect of impairing generic

  competition. But for the impact on generic competition, Warner Chilcott would not have


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  invested the resources necessary to tweak and cannibalize Loestrin 24 because doing so would

  have been economically irrational.

         284.    Warner Chilcott experienced a loss of sales due to the product hop from Loestrin

  24 to Minastrin 24. Warner Chilcott knew when it was planning the product hop that its

  combined sales of Loestrin 24 and Minastrin 24 would be far less than its sales of Loestrin 24

  before the hop. Figure 4 shows Warner Chilcott’s wholesale dollar sales, and that Warner

  Chilcott’s projections were correct:



                     Figure 4. Loestrin 24 & Minastrin 24 Wholesale Dollar Sales




         285.    Warner Chilcott incurred substantial costs in order to garner these reduced sales.

  Warner Chilcott spent significant sums in order to develop Minastrin 24, obtain a patent that

  purportedly protected it, gain FDA approval, and promote the product.

         286.    If the product hop did not have the effect of impairing generic competition, the

  hop would have been a money-losing proposition for Warner Chilcott. The product hop made

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  economic sense for Warner Chilcott solely because the hop did have the effect of impairing

  generic competition. Warner Chilcott’s investments in reformulating and cannibalizing the sales

  of Loestrin 24 were not investments in improving products and helping patients; they were

  investments in impairing competition.

            4.       Warner Chilcott’s delay in marketing Minastrin 24 confirms the purpose
                     and effect of impairing generic competition.

            287.     If Minastrin 24 were a valuable improvement over Loestrin 24 and not merely a

  means of impairing generic competition, Warner Chilcott would have introduced Minastrin 24 as

  early as possible. A valuable improvement would have helped Warner Chilcott compete against

  other branded oral contraceptives in non-price dimensions. Indeed, Instead, Warner Chilcott

  chose to delay marketing Minastrin 24 for more than four years.

            288.     Warner Chilcott knew that it could obtain a three-year marketing exclusivity for

  Minastrin 24 by submitting a study showing that it had no worse a safety profile than Loestrin

  24.50

            289.     Warner Chilcott first submitted its NDA (022365) for Minastrin 24 on May 20,

  2008. On January 12, 2009, just months away from expected FDA approval of the

  reformulation, Warner Chilcott withdrew its request for FDA approval. The FDA noted that

  Warner Chilcott withdrew the request for approval “for business reasons.”

            290.     The only apparent “business reason” was that three days earlier, on January 9,

  2009, Warner Chilcott had agreed to pay Watson to delay entering the market with generic

  Loestrin 24 until January 2014. Warner Chilcott’s purpose in tweaking the product was to

  impair generic competition. So, having bought a delay in generic competition, Warner Chilcott




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          21 U.S.C. § 355(j)(5)(F)(iii).


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  no longer had an immediate need to then pursue approval of the tweaked product.

           291.     Warner Chilcott re-submitted the same NDA on September 12, 2010. Warner

  Chilcott then withdrew it a second time on November 15, 2010 – a month after Lupin agreed to

  delay marketing its generic Loestrin 24 until July 2014. Having secured the delayed entry it

  bought from Watson, Warner Chilcott no longer had an immediate need to reformulate the

  product.

           292.     Warner Chilcott re-submitted the Minastrin 24 NDA on July 9, 2012 and pursued

  it to completion only when the delay it secured from generic entry of Loestrin 24 was finally

  coming to an end. Mindful of the need to convert the market from Loestrin 24 to Minastrin 24

  before generic Loestrin 24 entered the market, Warner Chilcott obtained FDA approval for

  Minastrin 24 in May 2013. Warner Chilcott then implemented the product hop beginning in July

  2013 – in just enough time to convert the market before the Watson generic Loestrin 24 was

  scheduled to enter in January 2014.51

           5.       Warner Chilcott’s product hop substantially impaired generic competition.

           293.     Warner Chilcott’s product hop and withdrawal of Loestrin 24 from the market

  was enormously successful for Warner Chilcott. Had Warner Chilcott not converted the market

  from Loestrin 24 to Minastrin 24, 100% of the prescriptions written for Warner Chilcott’s oral

  contraceptive comprising 24 norethindrone acetate/ethinyl estradiol (1 mg/20 µg) tablets and

  four ferrous fumarate tablets would have been AB-rated to and subject to automatic substitution


       51
            In the early 2000s, Warner Chilcott successfully prosecuted a patent for a chewable, palatable oral
  contraceptive (the ’050 patent). Warner Chilcott listed this patent in the Orange Book as covering Minastrin 24 and
  at least two other chewable oral contraceptive formulations. In November and December 2011, Warner Chilcott
  (but not Watson) separately sued Mylan and Lupin for allegedly infringing the ’050 patent in the United States
  District Court for the District of New Jersey. The generics argued the patent was invalid and/or unenforceable,
  primarily due to obviousness. On April 29, 2014, the court held that the claims of the ’050 patent are obvious and,
  therefore, invalid. The court’s opinion is sealed. But, based on the appellate record, the district court apparently
  held that a person skilled in the art would have arrived at the “invention” of the ’050 patent via multiple obviousness
  combinations, including a chewed paper pill known since the 1970s.


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  with generic Loestrin 24.

         294.    Instead, Warner Chilcott successfully converted virtually all Loestrin 24

  prescriptions to Minastrin 24 before Watson’s generic entered in January 2014. As Figure 5

  shows, Warner Chilcott’s anticompetitive conduct ensured that there were few sales of branded

  Loestrin 24 by January 2014:


                Figure 5. Sales of Loestrin 24 & Minastrin 24 (in Retail Extended Units)




         295.    Decades ago, with the passage of the Hatch-Waxman amendments and the state

  drug substitution laws, to overcome the price disconnect in pharmaceutical markets, Congress

  and every state provided for the distribution of generic drugs through automatic substitution at

  the pharmacy counter. Such substitution is generic manufacturers’ cost-efficient means of

  competing. Warner Chilcott’s product hop and withdrawal of Loestrin 24 from the market

  deprived generic manufacturers of their cost-efficient means of competing, and more


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  importantly, deprived purchasers and consumers of the benefits of that competition.

         296.    The following charts show unit sales and prices of Loestrin 24 (brand and

  generic) and Minastrin 24. As shown by Figure 6, the hard switch from Loestrin 24 to Minastrin

  24 caused near total unit sales of Loestrin 24 to be replaced by Minastrin 24 in the month

  preceding the entry of AB-rated generic Loestrin 24. As shown by Figure 7, replacement of

  Loestrin 24 with Minastrin 24 (a branded drug that could not be automatically substituted by a

  generic) enabled Warner Chilcott to continue increase prices.


     Figure 6. Sales of Loestrin 24, Generic Loestrin 24, and Minastrin 24 (in Retail Extended Units)




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             Figure 7. Loestrin 24, Generic Loestrin 24, & Minastrin 24 Wholesale Price per Pill




                                   VI.      CLASS ALLEGATIONS

         297.     The direct purchaser class plaintiffs bring this action as a class action under Fed.

  R. Civ. P. 23(a) and (b)(3) on behalf of themselves and as representatives of a class defined as

  follows:

                  All persons or entities in the United States and its territories who
                  purchased brand or generic Loestrin 24 or Minastrin 24 directly
                  from Warner Chilcott or Amneal at any time during the period
                  September 1, 2009 through and until the anticompetitive effects of
                  the defendants’ conduct cease (the “class period”).

  Excluded from the class are the defendants and their officers, directors, management,

  employees, subsidiaries, or affiliates, and all federal governmental entities. Also excluded from

  the class are educational institutions such as universities and colleges.

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         298.    Members of the class are so numerous that joinder is impracticable. The direct

  purchaser class plaintiffs believe that there are dozens of class members. Further, the class is

  readily identifiable from information and records that the defendants and Amneal are required by

  law to maintain.

         299.    The direct purchaser class plaintiffs’ claims are typical of the claims of the

  members of the class. The direct purchaser class plaintiffs and all members of the class were

  damaged by the defendants’ same wrongful conduct. Specifically, they paid artificially inflated

  prices for oral contraceptives comprised of 24 norethindrone acetate/ethinyl estradiol tablets

  (containing l mg of norethindrone acetate and 20 µg ethinyl estradiol) and four ferrous fumarate

  placebo tablets and were deprived – and are still deprived – of the benefits of competition from

  cheaper generic versions of Loestrin 24 as a result of the defendants’ wrongful conduct.

         300.    The direct purchaser class plaintiffs will fairly and adequately protect and

  represent the interests of the class. The direct purchaser class plaintiffs’ interests are coincident

  with, and not antagonistic to, those of the class.

         301.    The direct purchaser class plaintiffs and the class are represented by counsel who

  are experienced and competent in the prosecution of class action antitrust litigation and have

  particular experience with class action antitrust litigation involving pharmaceutical products.

         302.    Questions of law and fact common to the members of the class predominate over

  questions that may affect only individual class members because the defendants have acted on

  grounds generally applicable to the entire class, thereby making overcharge damages with

  respect to the class as a whole appropriate. Such generally applicable conduct is inherent in the

  defendants’ wrongful conduct.

         303.    Questions of law and fact common to the class include:



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                     a.      whether the defendants conspired to restrain generic competition to

              Loestrin 24;

                     b.      whether Watson unlawfully agreed to delay its entry into the

              market for oral contraceptives comprised of 24 norethindrone acetate/ethinyl

              estradiol tablets (containing l mg of norethindrone acetate and 20 µg ethinyl

              estradiol) and four ferrous fumarate placebo tablets, i.e., Loestrin 24 and its AB-

              rated generic bioequivalents;

                     c.      whether Warner Chilcott paid Watson in exchange for a delay in

              generic competition for Loestrin 24;

                     d.      whether Warner Chilcott’s compensation to Watson was necessary

              to yield some procompetitive benefit that is legally cognizable and non-pretextual;

                     e.      whether Warner Chilcott entered into agreements with subsequent

              filers, such as Lupin and Mylan, to protect Warner Chilcott’s and Watson’s

              anticompetitive scheme;

                     f.      whether the defendants’ challenged conduct suppressed generic

              competition to Loestrin 24;

                     g.      whether the defendants’ challenged conduct harmed competition in

              the market for oral contraceptives comprised of 24 norethindrone acetate/ethinyl

              estradiol tablets (containing l mg of norethindrone acetate and 20 µg ethinyl

              estradiol) and four ferrous fumarate placebo tablets;

                     h.      whether Warner Chilcott possessed market power in the market for

              oral contraceptives comprised of 24 norethindrone acetate/ethinyl estradiol tablets

              (containing l mg of norethindrone acetate and 20 µg ethinyl estradiol) and four



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                 ferrous fumarate placebo tablets, i.e., Loestrin 24 and its AB-rated generic

                 bioequivalents and Minastrin 24;

                         i.      whether the relevant antitrust market (if a relevant market must be

                 defined) is the market for oral contraceptives comprised of 24 norethindrone

                 acetate/ethinyl estradiol tablets (containing l mg of norethindrone acetate and 20

                 µg ethinyl estradiol) and four ferrous fumarate placebo tablets, i.e., Loestrin 24

                 and its AB-rated generic bioequivalents and Minastrin 24;

                         j.      whether the defendants’ activities alleged herein have substantially

                 affected interstate commerce;

                         k.      whether, and to what extent, the defendants’ conduct caused

                 antitrust injury to the business or property of the direct purchaser class plaintiffs

                 and members of the class in the nature of overcharges; and

                         l.      the quantum of overcharges paid by the direct purchaser class

                 plaintiffs and the class in the aggregate.

         304.    Class action treatment is a superior method for the fair and efficient adjudication

  of the controversy. Such treatment will permit a large number of similarly situated,

  geographically dispersed persons or entities to prosecute their common claims in a single forum

  simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, or

  expense that numerous individual actions would engender. The benefits of proceeding through

  the class mechanism, including providing injured persons or entities a method for obtaining

  redress on claims that could not practicably be pursued individually, substantially outweighs

  potential difficulties in management of this class action.

         305.    The direct purchaser class plaintiffs know of no special difficulty to be



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  encountered in the maintenance of this action that would preclude its maintenance as a class

  action.

                      VII.   MARKET POWER AND RELEVANT MARKET

            306.   At all relevant times Warner Chilcott had monopoly power in the market for oral

  contraceptives with 24 active tablets containing 1 mg norethindrone acetate and 20 µg ethinyl

  estradiol and four inactive iron tablets (“Loestrin 24 drugs”) and narrower markets therein,

  because they had the power to raise or maintain the price of Loestrin 24 drugs at

  supracompetitive levels without losing enough sales to make supracompetitive prices

  unprofitable.

            307.   “Loestrin 24 drugs” includes Loestrin 24 and its AB-rated generic equivalents as

  well as Minastrin 24 and its AB-rated generic equivalents.

            308.   Warner Chilcott had the ability to control the prices of Loestrin 24 drugs and

  exclude relevant competitors. Direct evidence demonstrates that: (i) generic versions of each

  drug would have entered the market at substantial discounts to the brand versions but for the

  defendants’ anticompetitive conduct; (ii) the gross margin on each drug was at all times at least

  60%; and (iii) the defendants never lowered the price of the drugs to the competitive level in

  response to the pricing of other branded or generic drugs.

            309.   To the extent that the plaintiffs are required to prove monopoly power by defining

  a relevant product market, the plaintiffs allege that the relevant product market is the market for

  oral contraceptives with 24 active tablets containing 1 mg norethindrone acetate and 20 µg

  ethinyl estradiol and four inactive iron tablets, e.g., Loestrin 24, AB-rated equivalents to that

  drug, and Minastrin 24 (the “Loestrin 24 drugs”), and narrower markets therein.

            310.   A small but significant, non-transitory price increase in the price of Loestrin 24

  drugs did not cause a significant loss of sales. At competitive prices, Loestrin 24 drugs do not

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  exhibit significant, positive, cross-elasticity of demand with respect to price with any other oral

  contraceptive other than AB-rated generic versions of those Loestrin 24 drugs.

          311.   Warner Chilcott needed to control only Loestrin 24 drugs and their AB-rated

  generic equivalents, and no other products, in order to maintain the price of the products

  profitably at supracompetitive prices. Only the market entry of a competing, AB-rated generic

  version of Loestrin 24 drugs would render the defendants unable to profitably maintain

  supracompetitive prices for those products.

          312.   Warner Chilcott sold branded Loestrin 24 drugs in excess of marginal costs, and

  in excess of the competitive price, and enjoyed unusually high profit margins.

          313.   The United States and its territories constitute the relevant geographic market.

          314.   At all relevant times, Warner Chilcott enjoyed high barriers to entry with respect

  to the above-defined relevant market due to patent protection, the high cost of entry and

  expansion, expenditures in marketing and physician detailing, and AB-rated generic substitution

  laws.

          315.   At all relevant times, Warner Chilcott’s market share in the relevant market was

  100%.

          316.   Loestrin 24 and Minastrin 24 are not reasonably interchangeable with any

  products other than AB-rated generic versions of Loestrin 24 drugs because Loestrin 24 and

  Minastrin 24 have different attributes significantly differentiating them from other oral

  contraceptives and making them unique as against other oral contraceptives. The FDA does not

  consider Loestrin 24 drugs and other oral contraceptives interchangeable, and there is variation

  in the dosage of the active ingredients. Oral contraceptives have different chemical compounds

  and formulations, such as varying amounts of progestin.



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         317.    Oral contraceptive pills are dispensed in packs, where each pack contains the right

  number of pills to last for one cycle (28 days). Each pack contains between 21 and 28 pills.

  Each pill is labeled with either a day of the week (M, T, W, etc.) or the day of the cycle (Day 1,

  Day 2, Day 3, etc.) when it should be taken.

                                   Figure 8. Loestrin 24 Packaging




         318.    Some formulations of oral contraceptives have higher failure rates in certain

  classes of women, and they differ widely in their safety and side-effect profiles. For example,


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  oral contraceptives differ in the endometrial, progestational, androgenic, and estrogenic activity.

  The differing efficacy, safety, and side effect profiles of different oral contraceptives play a

  critical role in doctors’ selection of the most appropriate oral contraceptive for a particular

  patient and a woman’s decision to continue taking an oral contraceptive she has found to work

  well.

           319.     Price does not drive prescriptions for oral contraceptives. The pharmaceutical

  marketplace is characterized by a “disconnect” between the payment obligation and the product

  selection. State laws prohibit pharmacists from dispensing many pharmaceutical products,

  including Loestrin 24, to patients without a prescription written by a doctor. This prohibition

  introduces a disconnect between the payment obligation and the product selection. The patient

  (and in most cases her insurer) has the obligation to pay for the pharmaceutical product, but the

  patient’s doctor chooses which product the patient will buy.

           320.     Warner Chilcott and other brand manufacturers exploit this price disconnect by

  employing large forces of sales representatives to visit doctors’ offices and aggressively (and

  sometimes illegally) persuade them to prescribe the manufacturer’s products.52 These sales

  representatives do not advise doctors of the cost of the branded products. Moreover, studies

  show that doctors typically are not aware of the relative costs of brand pharmaceuticals and, even

  when they are aware of the relative costs, they are insensitive to price differences because they

  do not have to pay for the products. The result is a marketplace in which price plays a



      52
         In fact, Warner Chilcott admittedly instructed its sales representatives to use illegal tactics to increase and
  maintain its market share. In October 2015, Warner Chilcott pleaded guilty to criminal and civil charges of
  unlawfully marketing several of its drugs, including Loestrin 24. Among other things, Warner Chilcott violated the
  federal anti-kickback statute by providing inducements to physicians to prescribe Warner Chilcott’s drugs. Warner
  Chilcott agreed to pay $102.06 million to the federal government and certain states, resolving claims that its actions
  caused false claims to be submitted to government health care programs. Warner Chilcott also agreed to pay a
  criminal fine of $22.94 million.


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  comparatively unimportant role in product selection.

         321.       Thus, unlike many consumer products where consumers are provided with a

  choice of functionally similar products at the point of sale and make purchasing decisions

  primarily based on price, the prescribing decision for prescription drugs, such as oral

  contraceptives, is made by the physician, not female consumers of these products. Additionally,

  once the physician and patient find a product that is well-tolerated, it is very unlikely that the

  patient will switch to a different oral contraceptive based on variations of price of 10% or less.

         322.       Doctors generally select an oral contraceptive for their patients based on the

  clinical and pharmacological attributes of the drug and the relevant characteristics of the patient,

  rather than on the basis of price. For clinical reasons, among others, physicians and patients

  prefer Loestrin 24 to other products designed to prevent pregnancy. Due to, among other

  reasons, its use and varying ability to prevent pregnancy while causing shorter, lighter periods,

  Loestrin 24 is significantly differentiated from all products other than AB-rated generic versions

  of Loestrin 24.

         323.       The existence of other products designed to prevent pregnancy has not

  significantly constrained Warner Chilcott’s pricing of Loestrin 24 (or its pricing of Minastrin

  24).

         324.       Warner Chilcott needed to control only Loestrin 24 and its AB-rated generic

  equivalents, and no other products, in order to maintain the price of Loestrin 24 profitably at

  supracompetitive prices. Only the market entry of a competing, AB-rated generic version of

  Loestrin 24 would render Warner Chilcott unable to profitably maintain its current prices of

  Loestrin 24 without losing substantial sales.

         325.       Despite the availability of other oral contraceptive products, including lower



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  priced generics that are not AB-rated to Loestrin 24, sales of Loestrin 24 increased from 2008 to

  2011, and the price of Loestrin 24 rose each year. This is in stark contrast to what would have

  occurred if an AB-rated generic version of Loestrin 24 had come to market. For example, when

  an AB-rated generic version of Yaz-28, an oral contraceptive sold by Bayer Healthcare, became

  available in 2010, sales of branded Yaz-28 dropped from a reported $781 million in 2009, to

  $150 million in 2011. The generic version of Yaz-28 was not AB-rated, however, to Loestrin 24

  and, thus, not surprisingly, while sales of branded Yaz-28 plunged from 2009 to 2011, sales of

  branded Loestrin 24 increased between 2009 and 2011.

           326.   At all relevant times, Warner Chilcott has sold Loestrin 24 and Minastrin 24 at

  prices well in excess of the competitive price.

           327.   Warner Chilcott had, and exercised, the power to exclude and restrict competition

  to Loestrin 24, its AB-rated bioequivalents, and Minastrin 24.

           328.   Warner Chilcott, at all relevant times, enjoyed high barriers to entry with respect

  to competition in the relevant product market due to patent and other regulatory protections and

  high costs of entry and expansion.

           329.   The relevant geographic market is the United States and its territories.

           330.   Warner Chilcott’s market share in the relevant market was 100% at relevant

  times.

                  VIII. MARKET EFFECTS AND DAMAGES TO THE CLASS

           331.   But for the anticompetitive conduct alleged above, Watson would have entered

  the market with its generic Loestrin 24 as early as September 1, 2009, when its ANDA 78267

  received final FDA approval. Warner Chilcott would have launched an authorized generic

  version of Loestrin 24 simultaneously. Lupin, Mylan, and other generic manufacturers would

  have entered the market with additional generic versions of Loestrin 24 entering thereafter.

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         332.    The defendants’ anticompetitive conduct had the purpose and effect of restraining

  competition unreasonably and injuring competition by protecting Loestrin 24 from generic

  competition.

         333.    Watson, Lupin, and Mylan have extensive experience in the pharmaceutical

  industry, including in obtaining approval for ANDAs and marketing generic pharmaceutical

  products, and manufacturing commercial launch quantities adequate to meet market demand.

         334.    The defendants’ anticompetitive conduct, which delayed introduction into the

  United States marketplace of generic versions of Loestrin 24, has caused the direct purchaser

  class plaintiffs and the class to pay more than they would have paid for oral contraceptives

  comprising 24 norethindrone acetate/ethinyl estradiol (1 mg/20 µg) tablets and four ferrous

  fumarate placebo tablets absent the defendants’ illegal conduct.

         335.    Typically, generic versions of brand drugs are initially priced significantly below

  the corresponding brand drug to which they are AB-rated. As a result, upon generic entry,

  virtually all brand drug purchases are rapidly substituted for generic equivalents of the drug. As

  more generic manufacturers enter the market, prices for generic versions of a drug predictably

  plunge even further due to competition among the generic manufacturers, and, correspondingly,

  the brand drug loses even more of its market share to the generic versions of the drug.

         336.    This price competition enables all purchasers of the drug to: (i) purchase generic

  versions of a drug at substantially lower prices; (ii) purchase generic equivalents of the drug at a

  lower price, sooner; and/or (iii) purchase the brand drug at a reduced price. Consequently, brand

  manufacturers have a keen financial interest in delaying and impairing generic competition, and

  purchasers experience substantial cost inflation from that delay and impairment.

         337.    But for the defendants’ anticompetitive conduct, the direct purchaser class



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  plaintiffs and members of the class would have paid less for oral contraceptives comprising 24

  norethindrone acetate/ethinyl estradiol (1 mg/20 µg) tablets and four ferrous fumarate placebo

  tablets by: (i) substituting purchases of less-expensive AB-rated generic Loestrin 24 for their

  purchases of more-expensive branded Loestrin 24; (ii) receiving discounts on their remaining

  branded Loestrin 24 purchases; (iii) purchasing generic Loestrin 24 at lower prices sooner; and

  (iv) purchasing less expensive generic Loestrin 24 instead of more expensive branded Minastrin

  24.

            338.   Due to the defendants’ anticompetitive conduct, other generic manufacturers were

  discouraged from and/or delayed in (i) launching generic versions of Loestrin 24, and/or (ii)

  challenging the validity or infringement of the ’394 patent in court.

            339.   Thus, the defendants’ unlawful conduct deprived the direct purchaser class

  plaintiffs and the class of the benefits of competition that the antitrust laws were designed to

  ensure.

                                    IX.    ANTITRUST IMPACT

            340.   During the relevant time period, the direct purchaser class plaintiffs and members

  of the class purchased substantial amounts of Loestrin 24 and Minastrin 24 directly from Warner

  Chilcott and purchased generic Loestrin 24 directly from Amneal. As a result of the defendants’

  illegal conduct, the direct purchaser class plaintiffs and members of the class were compelled to

  pay, and did pay, artificially inflated prices for their oral contraceptives comprising 24

  norethindrone acetate/ethinyl estradiol (1 mg/20 µg) tablets and four ferrous fumarate placebo

  tablets. Those prices were substantially greater than the prices that the direct purchaser class

  plaintiffs and members of the class would have paid absent the illegal conduct alleged herein,

  because: (i) the price of Loestrin 24 was artificially inflated by the defendants’ illegal conduct,

  and (ii) the direct purchaser class plaintiffs and class members were deprived of the opportunity

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  to purchase lower-priced generic versions of Loestrin 24.

           341.     As a consequence, the direct purchaser class plaintiffs and members of the class

  have sustained substantial losses and damage to their business and property in the form of

  overcharges. The full amount and forms and components of such damages will be calculated

  after discovery and upon proof at trial.

                           X.        EFFECT ON INTERSTATE COMMERCE

           342.     At all material times, Loestrin 24, manufactured and sold by Warner Chilcott, was

  shipped across state lines and sold to customers located outside its state of manufacture.

           343.     During the relevant time period, in connection with the purchase and sale of

  Loestrin 24, monies as well as contracts, bills and other forms of business communication and

  transactions were transmitted in a continuous and uninterrupted flow across state lines.

           344.     During the relevant time period, various devices were used to effectuate the

  illegal acts alleged herein, including the United States mail, interstate and foreign travel, and

  interstate and foreign telephone commerce. The defendants’ activities were within the flow of,

  and have substantially affected, interstate commerce.

                                    XI.      STATUTE OF LIMITATIONS

           345.     The direct purchaser class plaintiffs were not injured by the defendants’ scheme

  (and their claims did not accrue) until at least September 1, 2009 – the date on which Watson’s

  ANDA received final FDA approval.53

           346.     Absent the defendants’ conduct, on or after September 1, 2009 a lower cost

  generic version (and an AG version) of Loestrin 24 would have been available for the direct

  purchaser class plaintiffs to purchase.


     53
        The first direct purchaser class action complaint was filed in this district on May 14, 2013. Am. Sales Co.,
  LLC v. Warner Chilcott Public Ltd. Co., No. 13-347 (D.R.I. May 14, 2013), ECF No. 1.


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         347.    Additionally, the defendants fraudulently concealed the terms of the Watson

  agreement. While the Watson agreement was announced on January 9, 2009, the specific terms

  of the agreement, including the existence of the reverse payments therein, were not publicly

  disclosed at that time and prevented the direct purchaser class plaintiffs from immediately

  discovering their claims.

         348.    The defendants’ conduct has inflicted continuing and accumulating harm upon the

  direct purchaser class plaintiffs through the present. Each sale of Loestrin 24 to the direct

  purchaser class plaintiffs caused them a separate injury and constituted an overt act that started

  the statutory period.

         349.    Both Warner Chilcott and Watson engaged in overt acts in furtherance of their

  anticompetitive scheme, including that: (i) Watson Chilcott paid both Watson and Lupin

  according to the terms of the Watson agreement and the Lupin agreement; (ii) Warner Chilcott

  prosecuted and delayed later ANDA filers’ attempts to launch a generic version of Loestrin 24;

  (iii) Watson and its successor (Amneal) did not launch their generic Loestrin 24 until January

  2014; (iv) Warner Chilcott entered into arrangements with other, later generic filers (including

  Lupin and Mylan) to protect Watson’s entry date; (v) Warner Chilcott and Watson prevented a

  court ruling on the merits of the ’394 patent; (vi) Warner Chilcott hopped the market to more

  expensive Minastrin 24 to thwart substitution of less expensive Loestrin 24 generics; and (vii)

  Warner Chilcott continued to overcharge the direct purchaser class plaintiffs for years following

  the Watson agreement.

                                   XII.   CLAIMS FOR RELIEF

                                   VIOLATION OF 15 U.S.C. § 2
                                       MONOPOLIZATION
                                     (Against Warner Chilcott)

         350.    The direct purchaser class plaintiffs incorporate by reference the preceding

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  allegations and paragraphs.

         351.    At all relevant times, Warner Chilcott possessed substantial market power (i.e.

  monopoly power) in the relevant market. Warner Chilcott possessed the power to raise and

  maintain supracompetitive prices and exclude competitors from the relevant market.

         352.    Warner Chilcott engaged in an exclusionary, anticompetitive scheme designed to

  create and maintain a monopoly in the market for oral contraceptives with 24 active tablets

  containing 1 mg norethindrone acetate and 20 µg ethinyl estradiol and four inactive iron tablets.

  Warner Chilcott’s anticompetitive scheme included the following conduct:

                 a.      Improperly listing the ’394 patent in the Orange Book as covering
                         Loestrin 24 while knowing the patent to be invalid and/or unenforceable
                         (whether due to obviousness, misrepresentations made during prosecution,
                         or both);

                 b.      Filing sham lawsuits against generic manufacturers of Loestrin 24 without
                         regard for the merits and with intent to delay generic entry;

                 c.      Paying off Watson to delay entering the market with generic Loestrin 24;

                 d.      Reformulating Loestrin 24 into Minastrin 24, the sole purpose of which
                         was to render generic Loestrin 24 tablets non-substitutable;
                 e.      Cannibalizing the sales of Loestrin 24 before generic entry; and

                 f.      Pulling Loestrin 24 from the market months before expected generic entry;

         353.    Through the anticompetitive scheme described above, Warner Chilcott willfully

  maintained and continues to maintain monopoly power in the relevant market using restrictive

  and exclusionary conduct rather than by providing better products or services, and thereby

  injured the direct purchaser class plaintiffs and members of the class. Specifically, by denying

  the direct purchaser class plaintiffs and members of the class the opportunity to purchase drugs

  in the relevant market at a substantial discount via generic substitutes, Warner Chilcott willfully

  maintained its monopoly over (and supracompetitive profits in) the relevant market.



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          354.     Warner Chilcott’s conscious objective was and is to continue its dominance of the

  relevant market by and through the anticompetitive scheme described above.

          355.     Warner Chilcott’s anticompetitive scheme harmed competition and purchasers as

  alleged above.

          356.     There are no non-pretextual, procompetitive justifications for Warner Chilcott’s

  conduct. Even if there were such a conceivable justification, the anticompetitive effects of the

  conduct far outweigh any conceivable justification. Further, the anticompetitive scheme was far

  broader than necessary to achieve any conceivable procompetitive benefit.

          357.     Warner Chilcott’s anticompetitive scheme was the direct and proximate cause of

  the direct purchaser class plaintiffs’ and the class’s injuries.

          358.     The direct purchaser class plaintiffs and the members of the class have been

  injured in their business or property as a direct and proximate result of Warner Chilcott’s

  anticompetitive conduct. The injuries include: (i) being denied the opportunity to purchase

  lower-priced generic Loestrin 24 instead of more expensive branded Loestrin 24; (ii) being

  forced to purchase generic Loestrin 24 at higher prices because of the absence of other generic

  competition; and (iii) being forced to purchase a more expensive branded Minastrin 24 instead of

  less expensive generic Loestrin 24. These injuries are the type that the antitrust laws were

  designed to prevent and flow from that which makes Warner Chilcott’s conduct unlawful.

                                 VIOLATION OF 15 U.S.C. § 1
                              AGREEMENT RESTRAINING TRADE
                               (Against Warner Chilcott and Watson)

          359.     The direct purchaser class plaintiffs hereby incorporate each preceding and

  succeeding paragraph as though fully set forth herein.

          360.     The defendants, Warner Chilcott and Watson, have engaged and continue to



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  engage in an unlawful contract, combination, or conspiracy that has unreasonably restrained

  trade or commerce in violation of section 1 of the Sherman Act, 15 U.S.C. § 1.

          361.     The unlawful contract, combination, or conspiracy consisted of Warner Chilcott

  and Watson entering into the Watson agreement, under which Warner Chilcott agreed to pay

  Watson substantial consideration in exchange for Watson’s agreement to delay bringing its

  generic version of Loestrin 24 to the market. The purpose and effect of this agreement and

  conduct were, and are, to: (i) allocate 100% of the market for Loestrin 24 products in the United

  States to Warner Chilcott; (ii) prevent the sale of generic versions of Loestrin 24 in the United

  States, thereby protecting Loestrin 24 from generic competition for five years or more; (iii) fix,

  raise, maintain, or stabilize the price at which direct purchasers would pay for Loestrin 24 or its

  AB-rated generic equivalent at supracompetitive levels; and (iv) allocate 100% of United States

  generic Loestrin 24 sales to Watson during the first 180 days of generic sales.

          362.     The Watson agreement harmed the direct purchaser class plaintiffs and the class

  as set forth above.

          363.     The Watson agreement covered a sufficiently substantial percentage of the

  relevant market to harm competition.

          364.     The agreement between and among Warner Chilcott and Watson and their

  conduct under the Watson agreement is an illegal restraint of trade or commerce and a

  continuing violation of the Sherman Act. There is and was no legitimate, non-pretextual,

  procompetitive business justification for the exclusion payment that outweighs its harmful effect.

  Even if there were some conceivable justification, the payment was not necessary to achieve

  such a purpose, nor was it the least restrictive means of achieving any such purported

  justification.



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         365.    As a direct and proximate result of Warner Chilcott’s and Watson’s

  anticompetitive conduct, as alleged herein, the direct purchaser class plaintiffs and the class have

  been harmed and have sustained substantial losses and damage to their business and property in

  the form of overcharges as set forth above.

                               XIII. DEMAND FOR JUDGMENT

         WHEREFORE, Ahold and RDC, on behalf of themselves and the class, respectfully

  request that the Court:

         a.      Determine that this action may be maintained as a class action pursuant to Fed. R.
                 Civ. P. 23(a) and (b)(3), direct that reasonable notice of this action as provided by
                 Fed. R. Civ. P. 23(c)(2) be given to the class, and declare Ahold and RDC
                 representatives of the class;

         b.      Enter joint and several judgments against the defendants and in favor of Ahold,
                 RDC, and the class;

         c.      Award the class damages (i.e., three times overcharges) in an amount to be
                 determined at trial; and

         d.      Award Ahold, RDC, and the class their costs of suit, including reasonable
                 attorneys’ fees as provided by law.

                                      XIV. JURY DEMAND

         366.    Pursuant to Fed. Civ. P. 38, the direct purchaser class plaintiffs, on behalf of

  themselves and the proposed class, demand a trial by jury on all issues so triable.


   Dated: March 28, 2018                            Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I, Thomas M. Sobol, hereby certify that I caused a copy of Direct Purchaser Class

  Plaintiffs’ Third Amended Consolidated Class Action Complaint and Jury Demand to be filed

  electronically via the Court’s CM/ECF system. Those attorneys who are registered CM/ECF

  users may access these filings, and notice of these filings will be sent to those parties by

  operation of the CM/ECF system.

  Dated: March 28, 2018                                 /s/ Thomas M. Sobol
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